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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF DELAWARE


              In re:                          §
                                              §
              GRA ENTERPRISES LIQUIDATION INC §                     Case No. 09-10171-KJC
                                              §
                        Debtor                §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      George L. Miller, chapter 7 trustee, submits this Final Account, Certification that the
              Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 5,388.89                            Assets Exempt: NA
              (Without deducting any secured claims)

              Total Distributions to Claimants: 137,920.03          Claims Discharged
                                                                    Without Payment: NA

              Total Expenses of Administration: 569,449.54


                      3) Total gross receipts of $ 707,369.57 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 707,369.57 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS            CLAIMS                 CLAIMS                CLAIMS
                                                SCHEDULED          ASSERTED               ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                $ 68,233,468.78     $ 2,783,851.13                 $ 0.00                  $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA          670,971.01             543,462.01           543,462.01

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA           58,569.14              25,987.53               25,987.53

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                          2,296,684.00         943,474.07             190,852.43           137,920.03

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                           10,197,779.30      28,165,499.08          29,884,565.71                    0.00

TOTAL DISBURSEMENTS                             $ 80,727,932.08    $ 32,622,364.43        $ 30,644,867.68         $ 707,369.57


                 4) This case was originally filed under chapter 11 on 01/15/2009 , and it was converted
          to chapter 7 on 04/30/2010 . The case was pending for 86 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 05/15/2017                        By:/s/George L. Miller
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                   UNIFORM                                $ AMOUNT
                                                                          TRAN. CODE1                             RECEIVED

    ACCOUNTS RECEIVABLE                                                      1121-000                                 81,753.56

    LICENSES                                                                 1129-000                                117,000.00

    Bank Account - DIP Bank Account #0589                                    1229-000                                441,694.32

PREFERENCES AND FRAUDULENT
CONVEYANCE                                                                   1241-000                                 66,742.39

    Post-Petition Interest Deposits                                          1270-000                                        0.81

Post-Petition Interest Deposits earned in 09-10170                           1270-000                                    178.49

TOTAL GROSS RECEIPTS                                                                                                $ 707,369.57
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                         UNIFORM       $ AMOUNT
                                                                                                   TRAN. CODE        PAID

NA                                                                                                      NA                   NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                               $ NA
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS




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                                                   UNIFORM        CLAIMS
                                                                                  CLAIMS            CLAIMS
CLAIM NO.                CLAIMANT                   TRAN.      SCHEDULED                                            CLAIMS PAID
                                                                                 ASSERTED          ALLOWED
                                                    CODE      (from Form 6D)

               Pecus ARG Main, LLC and
               Pecus ARG Parallel, LLC                           13,083,253.61              NA               NA              0.00


               Pecus ARG Main, LLC and
               Pecus ARG Parallel, LLC                           53,366,055.49              NA               NA              0.00


               CHUGACH ELECTRIC
463GL1         ASSOCIATION                         4210-000                NA          9,270.54              0.00            0.00


               Employment Development
356-1          Department                          4210-000                NA       963,869.92               0.00            0.00


35A            General Produce Co Ltd              4210-000                NA          1,698.71              0.00            0.00


               HEWLETT-PACKARD
               FINANCIAL SERVICES
320            COMPANY                             4210-000       1,784,159.68     1,747,849.95              0.00            0.00


               National Union Fire Insurance
               Company of Pittsburgh Pa
291-1          AIU                                 4210-000                NA               0.00             0.00            0.00


               Riverside County Tax
469GLA         Collector                           4700-000                NA         33,359.17              0.00            0.00


440GLA         Arapahoe County Treasurer           4800-000                NA          7,839.21              0.00            0.00


13GLA          Clark County Treasurer              4800-000                NA          1,698.71              0.00            0.00


448GLA         County of San Bernadino             4800-000                NA          3,346.68              0.00            0.00


               MARICOPA COUNTY
44             TREASURER                           4800-000                NA               0.00             0.00            0.00




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                                                  UNIFORM         CLAIMS
                                                                                   CLAIMS            CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.       SCHEDULED                                              CLAIMS PAID
                                                                                  ASSERTED          ALLOWED
                                                   CODE       (from Form 6D)

              Pierce County Budget &
138A          Finance                             4800-000                 NA            2,172.75              0.00             0.00


              Pierce County Budget &
139A          Finance                             4800-000                 NA            1,758.15              0.00             0.00


378A          San Mateo County                    4800-000                 NA            2,521.70              0.00             0.00


              SPOKANE COUNTY
55            TREASURER                           4800-000                 NA                0.00              0.00             0.00


              SPOKANE COUNTY
74A           TREASURER                           4800-000                 NA            5,859.18              0.00             0.00


              State of Michigan Department
52A           of Treasury                         4800-000                 NA                0.00              0.00             0.00


417GLA        Yakima County Treasurer             4800-000                 NA            2,606.46              0.00             0.00

TOTAL SECURED CLAIMS                                           $ 68,233,468.78     $ 2,783,851.13            $ 0.00           $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                               CLAIMS             CLAIMS             CLAIMS
                PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                             SCHEDULED           ASSERTED           ALLOWED
                                            CODE

George L. Miller                            2100-000                     NA           38,618.48        38,618.48           38,618.48


George L. Miller                            2200-000                     NA              369.55             369.55           369.55


INTERNATIONAL SURETIES                      2300-000                     NA                 9.86              9.86              9.86


INTERNATIONAL SURETIES, LTD                 2300-000                     NA               49.11              49.11             49.11




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                                           UNIFORM
                                                         CLAIMS          CLAIMS             CLAIMS
                 PAYEE                      TRAN.                                                            CLAIMS PAID
                                                       SCHEDULED        ASSERTED           ALLOWED
                                            CODE

INTERNATIONAL SURETIES,
LTD.                                        2300-000               NA            240.41             240.41           240.41


International Surities                      2300-000               NA          1,497.74         1,497.74            1,497.74


Eagle Bank                                  2600-000               NA            101.00             101.00           101.00


GRA Liquidation, Inc.                       2600-000               NA          9,837.22         9,837.22            9,837.22


Union Bank                                  2600-000               NA          4,862.21         4,862.21            4,862.21


Union Bank of California                    2600-000               NA              77.59             77.59             77.59


Clerk of Court                              2700-000               NA         26,250.00        26,250.00          26,250.00


Office of the United States Trustee         2950-000               NA            898.37             898.37           898.37


Ciardi Ciardi & Astin PC                    3210-000               NA       360,575.50        233,066.50         233,066.50


Ciardi Ciardi & Astin PC                    3220-000               NA         18,329.89        18,329.89          18,329.89


Miller Coffey Tate LLP                      3310-000               NA       207,440.50        207,440.50         207,440.50


Miller Coffey Tate LLP                      3320-000               NA          1,813.58         1,813.58            1,813.58


C&W Consultants                             3991-000               NA               0.00              0.00              0.00

TOTAL CHAPTER 7 ADMIN. FEES                                      $ NA      $ 670,971.01     $ 543,462.01        $ 543,462.01
AND CHARGES



             EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES




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                                            UNIFORM
                                                          CLAIMS          CLAIMS            CLAIMS
                 PAYEE                       TRAN.                                                           CLAIMS PAID
                                                        SCHEDULED        ASSERTED          ALLOWED
                                             CODE

STATE BOARD OF
EQUALIZATION                                 6820-000               NA              0.00              0.00             0.00


Allan A Sebanc Beverly M Sebanc
Kenneth D McCloskey and Char                 6920-000               NA        17,576.83       17,576.83           17,576.83


MACERICH OAKS ADJACENT,
LLC                                          6920-000               NA          2,700.00              0.00             0.00


MACERICH SOUTH TOWNE
LIMITED PARTNERSHIP                          6920-000               NA          2,600.00              0.00             0.00


Macerich/San Tan Festival LLC                6920-000               NA        24,818.11               0.00             0.00


SCOTTSDALE 101 ASSOCIATES,
LLC                                          6920-000               NA          2,600.00              0.00             0.00


Stanley Borello and Janell R Borello
et al                                        6920-000               NA          3,473.86        3,473.86           3,473.86


CDW CORPORATION                              6950-000               NA          3,800.34        3,800.34           3,800.34


EMPLOYMENT DEVELOPMENT
DEPARTMENT                                   6950-000               NA              0.00             66.00            66.00


HERITAGE FOOD SERVICE
EQUIPMENT INC                                6950-000               NA              0.00              0.00             0.00


Internal Revenue Service                     6950-000               NA              0.00            463.00          463.00


TERRIE SULLIVAN                              6950-000               NA          1,000.00            607.50          607.50

TOTAL PRIOR CHAPTER ADMIN.                                        $ NA       $ 58,569.14     $ 25,987.53        $ 25,987.53
FEES AND CHARGES




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            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                             CLAIMS              CLAIMS
                                                UNIFORM
                                                           SCHEDULED            ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                  TRAN.                                                          CLAIMS PAID
                                                            (from Form        (from Proofs of    ALLOWED
                                                 CODE
                                                                6E)               Claim)

            401k Payroll Deductions                             39,000.00                   NA             NA            0.00


            Accidental Death or
            Dismemberment Life
            Insurance                                           59,000.00                   NA             NA            0.00


            Arizona Department of
            Revenue                                                 480.00                  NA             NA            0.00


            City of Bellevue Tax Division                           775.00                  NA             NA            0.00


            City of Chandler                                       4,100.00                 NA             NA            0.00


            City of Glendale                                    10,000.00                   NA             NA            0.00


            City of Mesa                                            550.00                  NA             NA            0.00


            City of Mesa                                           4,000.00                 NA             NA            0.00


            City of Mesa                                           5,000.00                 NA             NA            0.00


            City of Tucson                                         4,300.00                 NA             NA            0.00


            Hawaii State Tax Collector                          21,500.00                   NA             NA            0.00


            Nevada Department of
            Taxation                                            21,000.00                   NA             NA            0.00




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                                                                 CLAIMS             CLAIMS
                                                   UNIFORM
                                                               SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                   TRAN.                                                             CLAIMS PAID
                                                                (from Form       (from Proofs of     ALLOWED
                                                    CODE
                                                                    6E)              Claim)

               New Mexico Tax and
               Revenue Department                                    21,500.00                 NA              NA              0.00


               Phoenix City Treasurer                                16,000.00                 NA              NA              0.00


               Restaurant Staff Plan                                 65,000.00                 NA              NA              0.00


               Self-Insured Disability Plan                          81,000.00                 NA              NA              0.00


               Self-Insured Medical Plan                           283,479.00                  NA              NA              0.00


               State Board of Equalization                        1,270,000.00                 NA              NA              0.00


               State of Washington
               Department of Revenue                               230,000.00                  NA              NA              0.00


               C & S FOOD EQUIPMENT
43A            SERVICES                            5200-000                NA             6,352.31             0.00            0.00


               Employment Development
357-1          Department                          5200-000                NA                 0.00             0.00            0.00


               HERITAGE FOOD
115-1          SERVICE EQUIPMENT INC 5200-000                              NA                 0.00             0.00            0.00


407GLA         M&M Floor Covering Inc              5200-000                NA             1,200.00             0.00            0.00


95A            Route 140 School Street LLC         5200-000                NA          656,237.20              0.00            0.00


439GL          Wendy McKernan                      5200-000                NA                 0.00             0.00            0.00


               ADAN RUIZ-QUEZADA                   5300-000               0.00            1,301.72           299.42          299.42




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                                                 UNIFORM       CLAIMS            CLAIMS
CLAIM NO.            CLAIMANT                     TRAN.      SCHEDULED          ASSERTED           CLAIMS       CLAIMS PAID
                                                  CODE        (from Form      (from Proofs of     ALLOWED
                                                                  6E)             Claim)

            ANNA ELRAKIB                         5300-000              0.00            1,301.72        299.42          299.42


            ANTHONY WHITESIDE                    5300-000              NA              1,301.72        299.42          299.42


            ARTURO MORA                          5300-000              0.00            1,301.72        299.42          299.42


            ASHLEY GOMES                         5300-000              0.00            1,301.72        299.42          299.42


            BARBARA A LANN                       5300-000              0.00            1,301.72        299.42          299.42


            BONNIE MOEN                          5300-000              0.00            1,301.72        299.42          299.42


            BRANDEE A MORRIS                     5300-000              0.00            1,301.72        299.42          299.42


            BRIAN LARSON                         5300-001              NA              1,301.72        299.42          299.42


            CANDACE MORRIS                       5300-000              0.00            1,301.72        299.42          299.42


            CARLOS L CARRASCO                    5300-000              0.00            1,301.72        299.42          299.42


            CARLY E
            BOETTIGHEIMER                        5300-000              0.00            1,301.72        299.42          299.42


            CESAR HORTADO                        5300-001              0.00            1,301.72        299.42          299.42


            CHRISTOPHER S MILLER                 5300-000              0.00            1,301.72        299.42          299.42


            CLAYTON RAMOS                        5300-000              0.00            1,301.72        299.42          299.42


            CRISTHIA CASTRO-
            CASTILLO                             5300-000              0.00            1,301.72        299.42          299.42


            Daniel Abundis                       5300-000              0.00            1,301.72        299.42          299.42




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                                                 UNIFORM       CLAIMS            CLAIMS
CLAIM NO.            CLAIMANT                     TRAN.      SCHEDULED          ASSERTED           CLAIMS        CLAIMS PAID
                                                  CODE        (from Form      (from Proofs of     ALLOWED
                                                                  6E)             Claim)

            DANIEL HERNANDEZ                     5300-001              0.00            1,301.72        299.42           299.42


            DAVID LYONS                          5300-001              0.00            1,301.72        299.42           299.42


            ELAINE YOUNG                         5300-000              0.00            1,301.72        299.42           299.42


            EMPLOYMENT
            DEVELOPMENT
            DEPARTMENT                           5300-000              NA                  0.00       4,982.78         4,982.78


            EVERARDO B SANDOVAL 5300-000                               0.00            1,301.72        299.42           299.42


            FABIAN ESPINOZA                      5300-001              0.00            1,301.72        299.42           299.42


            FRANCISCO CUEVAS                     5300-001              0.00            1,301.72        299.42           299.42


            INDRA R HADISURJA                    5300-000              0.00            1,301.72        299.42           299.42


            Internal Revenue Service             5300-000              NA                  0.00      28,225.76        28,225.76


            ISMAEL MENDOZA                       5300-001              0.00            1,301.72        299.42           299.42


            JOAQUIN A LOPEZ                      5300-000              0.00            1,301.72        299.42           299.42


460AGL      Joel Urias                           5300-000              0.00         131,225.61        7,374.82         7,374.82


            JOHN T TODD                          5300-000              0.00            1,301.72        299.42           299.42


            JONATHAN NOGALES                     5300-001              NA              1,301.72        299.42           299.42


            JOSE ANTONIO GARCIA                  5300-001              0.00            1,301.72        299.42           299.42


            JOSE CHOW                            5300-000              0.00            1,301.72        299.42           299.42




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                                                 UNIFORM       CLAIMS            CLAIMS
CLAIM NO.            CLAIMANT                     TRAN.      SCHEDULED          ASSERTED           CLAIMS       CLAIMS PAID
                                                  CODE        (from Form      (from Proofs of     ALLOWED
                                                                  6E)             Claim)

            JOSE L GARCIA                        5300-001              0.00            1,301.72        299.42          299.42


            JOSE L. DELGADILLO                   5300-000              0.00            1,301.72        299.42          299.42


            Jose Ruiz                            5300-000              0.00            1,301.72        299.42          299.42


            JOSEPH GONZALEZ                      5300-000              0.00            1,301.72        299.42          299.42


            JULIO A ARELLANO                     5300-001              0.00            1,301.72        299.42          299.42


            KATHERINE HANLON                     5300-000              NA              1,301.72        299.42          299.42


            KATHLEEN WILSON                      5300-000              0.00            1,301.72        299.42          299.42


            KEVIN ROSAS                          5300-000              NA              1,301.72        299.42          299.42


            KRISTEN GOTTULA                      5300-000              0.00            1,301.72        299.42          299.42


            KRISTY DIEP                          5300-000              NA              1,301.72        299.42          299.42


            LUIS MARTINEZ                        5300-000              0.00            1,301.72        299.42          299.42


            LUIS VIDAL                           5300-001              0.00            1,301.72        299.42          299.42


            MARK T MENDOZA                       5300-000              0.00            1,301.72        299.42          299.42


            MONSERRAT VARGAS                     5300-001              0.00            1,301.72        299.42          299.42


            NANCY L GONZALEZ                     5300-000              0.00            1,301.72        299.42          299.42


            OSAMA SAM GHARIB                     5300-000              0.00            1,301.72        299.42          299.42


            OSCAR R HERNANDEZ                    5300-000              0.00            1,301.72        299.42          299.42




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                                                    UNIFORM       CLAIMS            CLAIMS
CLAIM NO.               CLAIMANT                     TRAN.      SCHEDULED          ASSERTED           CLAIMS          CLAIMS PAID
                                                     CODE        (from Form      (from Proofs of     ALLOWED
                                                                     6E)             Claim)

              OUTTEN & GOLDEN LLP                   5300-000              NA                  0.00      28,500.04          28,500.04


              RICARDO VALENCIL                      5300-000              NA              1,301.72        299.42             299.42


              RICHARD DICKOW                        5300-000              0.00            1,301.72        299.42             299.42


              RODRIGO PICON                         5300-000              NA              1,301.72        299.42             299.42


              SAMANTHA HOOBYAR                      5300-000              0.00            1,301.72        299.42             299.42


              SERGIO FLORES                         5300-001              NA              1,301.72        299.42             299.42


              SILVESTRE MORALES
              ALVINO                                5300-001              0.00            1,301.72        299.42             299.42


              SONIA L CHALFONT                      5300-001              0.00            1,301.72        299.42             299.42


              TERRIE SULLIVAN                       5300-000              NA              1,301.72        299.42             299.42


              TRACIE L PELZL                        5300-000              0.00            1,301.72        299.42             299.42


              VICTOR FUENTES                        5300-000              NA              1,301.72        299.42             299.42


              WALTER ROJAS                          5300-001              0.00            1,301.72        299.42             299.42


72            Erma Wray                             5600-000              NA                 11.24            11.24            11.24


431GL         Gerald Baker                          5600-000              NA              1,245.00             0.00             0.00


              ALAMEDA COUNTY TAX
399GL         COLLECTOR                             5800-000              NA              2,999.02       2,999.02           1,478.36


440GLB        Arapahoe County Treasurer             5800-000              NA                  0.00       7,839.21           3,864.29




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                                                                 CLAIMS            CLAIMS
                                                   UNIFORM
                                                               SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                                (from Form      (from Proofs of     ALLOWED
                                                    CODE
                                                                    6E)             Claim)

              Arizona Department of
20GEL         Revenue                              5800-000        160,000.00          18,960.94       18,960.94          9,346.66


              City of Los Angeles Office of
248           Finance                              5800-000               NA             5,443.63       5,443.63          2,683.40


13GLB         Clark County Treasurer               5800-000               NA                 0.00             0.00            0.00


448GLB        County of San Bernadino              5800-000               NA                 0.00       3,346.68          1,649.73


353           Franchise Tax Board                  5800-000               NA             1,649.55       1,649.55            813.14


7GEL1         Idaho State Tax Commission           5800-000               NA               570.95           570.95          281.44


              Internal Revenue Service             5800-000               NA                  NA       11,563.12          5,699.90


              Kern County Treasurer Tax
377           Collector                            5800-000               NA                 0.00             0.00            0.00


              Kern County Treasurer Tax
76            Collector                            5800-000               NA                 0.00             0.00            0.00


              Kern County Treasurer Tax
84            Collector                            5800-000               NA                 0.00             0.00            0.00


              LOS ANGELES COUNTY
393GLA        TREASURER AND                        5800-000               NA           12,953.95       12,953.95          6,385.57


              MARICOPA COUNTY
8GEL          TREASURER                            5800-000               NA                 0.00             0.00            0.00




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                                                                  CLAIMS          CLAIMS
                                                    UNIFORM
                                                                SCHEDULED        ASSERTED            CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                                 (from Form    (from Proofs of      ALLOWED
                                                     CODE
                                                                     6E)           Claim)

               MARICOPA COUNTY
9GEL           TREASURER                            5800-000              NA          25,827.99        25,827.99         12,731.73


               NEVADA DEPARTMENT
160-1          OF TAXATION                          5800-000              NA                 0.00             0.00            0.00


               NEVADA DEPARTMENT
19GEL1         OF TAXATION                          5800-000              NA             2,038.90       2,038.90          1,005.06


470GL1         NM Taxation & Revenue                5800-000              NA             1,258.02       1,258.02            620.14


               Pierce County Budget &
138B           Finance                              5800-000              NA                 0.00             0.00            0.00


               Pierce County Budget &
139B           Finance                              5800-000              NA                 0.00             0.00            0.00


               Riverside County Tax
469GLB         Collector                            5800-000              NA                 0.00       4,080.31          2,011.37


               SPOKANE COUNTY
74B            TREASURER                            5800-000              NA                 0.00       5,859.16          2,888.24


               STATE BOARD OF
18GEL1         EQUALIZATION                         5800-000              NA                 0.00             0.00            0.00


               State of Michigan Department
51A            of Treasury                          5800-000              NA                 0.00             0.00            0.00


               State of Michigan Department
52B            of Treasury                          5800-000              NA                 0.00             0.00            0.00




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                                                                CLAIMS              CLAIMS
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                                                              SCHEDULED            ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                              CLAIMS PAID
                                                               (from Form        (from Proofs of     ALLOWED
                                                   CODE
                                                                   6E)               Claim)

             VENTURA COUNTY TAX
358          COLLECTOR                            5800-000                NA                  0.00             0.00             0.00


417GLB       Yakima County Treasurer              5800-000                NA                  0.00             0.00             0.00

TOTAL PRIORITY UNSECURED                                       $ 2,296,684.00        $ 943,474.07     $ 190,852.43      $ 137,920.03
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                CLAIMS              CLAIMS
                                                  UNIFORM
                                                              SCHEDULED            ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                              CLAIMS PAID
                                                               (from Form        (from Proofs of     ALLOWED
                                                   CODE
                                                                   6F)               Claim)

             10th & M Seafoods                                        3,983.75                 NA              NA               0.00


             3 Wire IMI-BREV Core                                      763.68                  NA              NA               0.00


             A S C I Advertising & Publ                               2,742.15                 NA              NA               0.00


             A.F.S. Construction Service                              6,132.50                 NA              NA               0.00


             AAA Ajax Pumping Svc Inc.                                3,880.00                 NA              NA               0.00


             AAA Power Sweepers                                        150.00                  NA              NA               0.00


             AAA Water Systems Inc.                                    314.25                  NA              NA               0.00


             AB Mechanical Services                                   1,490.00                 NA              NA               0.00


             A-Best Security Lock & Safe                               250.00                  NA              NA               0.00


             Absolute Mechanical                                       789.74                  NA              NA               0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Accumark                                                 1,058.71                 NA             NA            0.00


            Ace Service Company Inc.                                 4,637.64                 NA             NA            0.00


            Acme Drain                                                  65.00                 NA             NA            0.00


            Acme Pacific Repairs Inc.                                 546.51                  NA             NA            0.00


            Action Air Conditioning                                   450.00                  NA             NA            0.00


            Action Collectors Inc.                                      43.30                 NA             NA            0.00


            Acxiom Information Security
            Services                                                  472.00                  NA             NA            0.00


            Adame Landscape                                           421.00                  NA             NA            0.00


            Adobe Storage Solutions                                   141.58                  NA             NA            0.00


            Advanced Business Solutions                              8,292.10                 NA             NA            0.00


            AFS Construction Services                                2,115.00                 NA             NA            0.00


            Air Liquide                                               305.22                  NA             NA            0.00


            Airgas NCN                                                  46.35                 NA             NA            0.00


            Airgas Nor Pac Inc.                                      2,168.77                 NA             NA            0.00


            Airgas West dba Airgas                                   1,754.76                 NA             NA            0.00


            Airtech Mechanical Inc.                                 16,910.45                 NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Airtech Service                                           229.13                  NA             NA            0.00


            Alameda County Sheriff's
            Office                                                    800.00                  NA             NA            0.00


            Alameda County Tax
            Collector                                                8,627.90                 NA             NA            0.00


            Alameda County Water
            District                                                    73.03                 NA             NA            0.00


            Alaska Garden & Pet Supply
            dba Alaska Mill and Feed Co.                                55.00                 NA             NA            0.00


            Alberto Sanchez                                           248.18                  NA             NA            0.00


            Albuquerque Dining & Activ                                106.76                  NA             NA            0.00


            All About Carpet Cleaning                                3,500.00                 NA             NA            0.00


            All Kleen                                                 790.00                  NA             NA            0.00


            All Seasons Window Cleaning                               100.00                  NA             NA            0.00


            All Vallev Environmental Inc.                            6,117.80                 NA             NA            0.00


            Allan Villeneuve                                        11,040.34                 NA             NA            0.00


            Allied Beverages Inc.,
            Formerly Best Way Dist.                                  3,566.60                 NA             NA            0.00


            Allied Distributing Company                               509.60                  NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Allied Interpreting Service                              1,669.00                 NA             NA            0.00


            Allied Waste Services                                    7,974.57                 NA             NA            0.00


            Al's Commercial Service Inc.                              256.54                  NA             NA            0.00


            Amber Mangus                                              202.24                  NA             NA            0.00


            American Beverage Systems
            M&T Demar Inc                                             115.25                  NA             NA            0.00


            American Express                                          997.50                  NA             NA            0.00


            American Fish & Seafood-LA                              60,038.70                 NA             NA            0.00


            American Linen                                           1,007.74                 NA             NA            0.00


            American Waste Removal Inc.                               111.10                  NA             NA            0.00


            AMP Electric                                              400.00                  NA             NA            0.00


            Anchorage Restaurant Supply                                 90.95                 NA             NA            0.00


            Anchorage Water & Waste
            Water                                                    1,058.18                 NA             NA            0.00


            Angel Paredes                                             450.00                  NA             NA            0.00


            Angela Brito                                            10,475.01                 NA             NA            0.00


            Anheuser Busch Inc                                        134.70                  NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Anheuser Busch Inc.
            Riverside Beer                                           1,177.52                 NA             NA            0.00


            Anheuser Busch of Hawaii                                  998.14                  NA             NA            0.00


            Anheuser Busch of San Diego                              3,167.50                 NA             NA            0.00


            Anheuser Busch Sales of
            Pomona                                                   2,389.70                 NA             NA            0.00


            Anheuser-Busch Sales - LA                                 904.50                  NA             NA            0.00


            Anheuser-Busch Sales; Sales
            of Sylmar                                                3,541.65                 NA             NA            0.00


            Anna Vander Meide                                           59.29                 NA             NA            0.00


            Annie Raff                                                658.00                  NA             NA            0.00


            Anthony Gutierrez                                         712.93                  NA             NA            0.00


            Antonio Barranco                                        14,750.20                 NA             NA            0.00


            A-Plus Carpet Cleaning                                   1,960.00                 NA             NA            0.00


            Apollo Drain & Rooter
            Service                                                   438.21                  NA             NA            0.00


            Apple One Employment                                     2,400.00                 NA             NA            0.00


            APS Energy Services
            Company                                                  9,184.25                 NA             NA            0.00




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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Aqua Temp Co.                                            3,246.80                 NA             NA            0.00


            Arcady Distributing                                       199.20                  NA             NA            0.00


            Arctic Abrasives                                          160.00                  NA             NA            0.00


            Arctic Refrigeration & A/C                                808.49                  NA             NA            0.00


            Areli Cruz                                               2,488.91                 NA             NA            0.00


            Argyle Welding Supply Inc.                                496.02                  NA             NA            0.00


            Arizona Boiler Co. Inc.                                  4,518.18                 NA             NA            0.00


            Arizona Cutlery                                          1,388.50                 NA             NA            0.00


            Arkadin Inc.                                                82.83                 NA             NA            0.00


            Arlene Gustafson                                            50.00                 NA             NA            0.00


            Art of Design Inc.                                        300.00                  NA             NA            0.00


            Arthur Blank & Co. Inc                                  31,314.50                 NA             NA            0.00


            ASAP Metal Fabricators                                      97.72                 NA             NA            0.00


            AT Systems Technologies                                   450.00                  NA             NA            0.00


            AT&T                                                     7,048.71                 NA             NA            0.00


            Athens Services                                          1,086.82                 NA             NA            0.00


            Atlas Disposal Inc.                                       250.96                  NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Avipro Inc.                                               270.00                  NA             NA            0.00


            Avista Utilities                                         5,373.76                 NA             NA            0.00


            Bakersfield Lock and Safe                                 134.35                  NA             NA            0.00


            Banc of America Leasing                                  4,497.80                 NA             NA            0.00


            Barbara LeGrande                                            50.00                 NA             NA            0.00


            Basso Dist. Co. Inc.                                      734.30                  NA             NA            0.00


            Bay Area Beverage Company                                 822.12                  NA             NA            0.00


            Bay City Scale Inc.                                       552.84                  NA             NA            0.00


            Beauchamp Distributing Co.                                284.60                  NA             NA            0.00


            Beaugureau Hancock Stoll                                  260.00                  NA             NA            0.00


            Becky Ann Hughes                                          847.20                  NA             NA            0.00


            Better Beverages                                          266.76                  NA             NA            0.00


            Better Brands Ltd.                                       2,193.66                 NA             NA            0.00


            Beverly Walsh                                           21,655.08                 NA             NA            0.00


            Blazin Repair Company                                     768.38                  NA             NA            0.00


            Bobby Macias                                             3,010.00                 NA             NA            0.00


            Boilermasters Inc.                                       1,194.24                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Bonanza Beverage Company                                  183.85                  NA             NA            0.00


            Bottomley Distributing Co.                                832.05                  NA             NA            0.00


            Brad Hulse                                                  40.00                 NA             NA            0.00


            Bravo Sales Inc.                                          407.18                  NA             NA            0.00


            Bright House Networks LLC                                   55.62                 NA             NA            0.00


            Brinks Inc.                                               306.18                  NA             NA            0.00


            BRMS                                                     1,337.36                 NA             NA            0.00


            Broadway Signs                                            158.43                  NA             NA            0.00


            Buder Engel & Friends Inc.                              10,362.54                 NA             NA            0.00


            Bulger Safe & Lock Inc.                                   242.53                  NA             NA            0.00


            Burbank Water and Power                                  6,196.74                 NA             NA            0.00


            Burrtec Waste Industries                                  971.38                  NA             NA            0.00


            Burrtec Waste & Recycling                                 302.44                  NA             NA            0.00


            Butterfield Carpet Care                                   300.00                  NA             NA            0.00


            C & R Enterprises                                         425.00                  NA             NA            0.00


            C & S Locksmiths Inc.                                       75.13                 NA             NA            0.00


            CA SDU                                                   4,068.25                 NA             NA            0.00




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                                                              CLAIMS              CLAIMS
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                                                            SCHEDULED            ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                          CLAIMS PAID
                                                             (from Form        (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)               Claim)

            California American Water                                342.79                  NA             NA            0.00


            California Beverage Delivery                             275.00                  NA             NA            0.00


            California Beverage System                               703.24                  NA             NA            0.00


            California Commercial Light
            Supply Inc.                                             1,962.52                 NA             NA            0.00


            California Newspaper Ptnr
            dba San Jose Merchry News
            LLC                                                     2,167.62                 NA             NA            0.00


            California Water Svc                                     928.94                  NA             NA            0.00


            Candidate Resources Inc.                                 322.00                  NA             NA            0.00


            Carbonic Service Inc.                                   1,427.20                 NA             NA            0.00


            CareerBuilder LLC                                        500.00                  NA             NA            0.00


            Carl Johnson                                             422.37                  NA             NA            0.00


            Carol Hardman                                             20.00                  NA             NA            0.00


            Carol Lee                                                450.00                  NA             NA            0.00


            Carpet Guard                                            5,305.00                 NA             NA            0.00


            Carrie Campen                                            110.00                  NA             NA            0.00


            Cascade Natural Gas                                     6,025.32                 NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            CCH Incorporated                                         3,203.54                 NA             NA            0.00


            Cedarwood Enterprises                                       90.00                 NA             NA            0.00


            Cencal Beverage Co.                                       770.05                  NA             NA            0.00


            Centro Watt Property Owner                              20,154.10                 NA             NA            0.00


            Champion Industrial Contra                                120.00                  NA             NA            0.00


            Chapman Appliance Svc.                                   2,339.67                 NA             NA            0.00


            Charles Barbant                                             50.00                 NA             NA            0.00


            Charles F. Bowles                                         584.43                  NA             NA            0.00


            Charlie's Produce Inc.                                  65,509.80                 NA             NA            0.00


            Charter Communications                                    413.55                  NA             NA            0.00


            Chef's Cut                                                515.10                  NA             NA            0.00


            Chief Industries                                         1,503.50                 NA             NA            0.00


            Chief Mechanical                                         2,298.35                 NA             NA            0.00


            Child Support Enforcement                                   32.31                 NA             NA            0.00


            Christina Joiner                                        86,514.61                 NA             NA            0.00


            Christy Loudermill                                          50.00                 NA             NA            0.00


            Chrystal Hartley                                        43,318.53                 NA             NA            0.00




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                                                              CLAIMS              CLAIMS
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                                                            SCHEDULED            ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                             (from Form        (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)               Claim)

            Chuck Bowles                                             424.31                  NA             NA            0.00


            Chugach Pumping                                          290.00                  NA             NA            0.00


            Chugach Sewer & Drain                                    120.00                  NA             NA            0.00


            Cimarron Landscape Inc.                                  300.00                  NA             NA            0.00


            Cision US Inc.                                           674.20                  NA             NA            0.00


            Citrus Heights Water District                            296.92                  NA             NA            0.00


            City Lights Inc.                                         892.34                  NA             NA            0.00


            City of Albuquerque                                       18.02                  NA             NA            0.00


            City of Aurora Utility Dept.                             379.63                  NA             NA            0.00


            City of Bakersfield                                     2,919.00                 NA             NA            0.00


            City of Burbank                                          492.10                  NA             NA            0.00


            City of Chandler                                         460.95                  NA             NA            0.00


            City of Chino                                           1,225.75                 NA             NA            0.00


            City of El Cajon                                        1,553.20                 NA             NA            0.00


            City of Fremont Revenue &
            Taxation                                                 263.61                  NA             NA            0.00


            City of Fullerton                                        620.51                  NA             NA            0.00




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                                                              CLAIMS              CLAIMS
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                                                            SCHEDULED            ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                             (from Form        (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)               Claim)

            City of Glendale                                        1,357.70                 NA             NA            0.00


            City of Goodyear                                          10.00                  NA             NA            0.00


            City of Industry                                         298.77                  NA             NA            0.00


            City of Lynnwood                                        1,773.30                 NA             NA            0.00


            City of Mesa                                            9,660.51                 NA             NA            0.00


            City of Milpitas                                        2,163.45                 NA             NA            0.00


            City of Modesto                                         3,850.88                 NA             NA            0.00


            City of Monrovia                                         307.08                  NA             NA            0.00


            City of Ontario                                          937.00                  NA             NA            0.00


            City of Phoenix                                         5,529.14                 NA             NA            0.00


            City of Phoenix Police Dept                               15.00                  NA             NA            0.00


            City of Roseville                                       4,632.66                 NA             NA            0.00


            City of San Jose Business Tax                           1,342.00                 NA             NA            0.00


            City of Santa Ana - Water
            Division                                                1,453.97                 NA             NA            0.00


            City of Stockton                                         202.67                  NA             NA            0.00


            City of Thousand Oaks                                   1,105.28                 NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            City of Tustin                                            250.00                  NA             NA            0.00


            City of Ventura                                          3,011.30                 NA             NA            0.00


            City of West Covina                                       909.00                  NA             NA            0.00


            City of Yakima                                           2,010.79                 NA             NA            0.00


            Clackamas County Tax
            Collector                                               24,884.90                 NA             NA            0.00


            Clark County Water                                       4,180.18                 NA             NA            0.00


            Clark Law Firm PC                                         950.00                  NA             NA            0.00


            Clark PU D                                               1,730.83                 NA             NA            0.00


            Classic Dist. & Bev. Group                               3,852.70                 NA             NA            0.00


            Clean Sewer Lines                                        9,932.62                 NA             NA            0.00


            Cleaning Resource Center                                 1,982.00                 NA             NA            0.00


            Cleanway Inc.                                               78.36                 NA             NA            0.00


            Clearing House                                            456.95                  NA             NA            0.00


            Clemente De La Cruz                                     14,654.85                 NA             NA            0.00


            Clipper Magazine                                            99.00                 NA             NA            0.00


            Club Price Flooring                                       197.59                  NA             NA            0.00




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                                                              CLAIMS               CLAIMS
                                                 UNIFORM
                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Coachella Valley Water
            District                                                  442.29                  NA             NA            0.00


            Coast Party Rentals Inc.                                  153.87                  NA             NA            0.00


            Coast to Coast Computer                                   836.56                  NA             NA            0.00


            Coca Cola Btlg Co. Yakima                                 108.00                  NA             NA            0.00


            Coca Cola USA                                            2,110.53                 NA             NA            0.00


            Cole Maintenance                                          200.00                  NA             NA            0.00


            Colorgraphics                                           20,328.24                 NA             NA            0.00


            Columbia District of Seatlle                             1,517.25                 NA             NA            0.00


            Comcast                                                   947.71                  NA             NA            0.00


            Commercial Appliance                                     4,387.19                 NA             NA            0.00


            Commercial Custom Seating
            & Upholstery Inc.                                       15,563.62                 NA             NA            0.00


            Commercial Gas Appliance                                    80.00                 NA             NA            0.00


            Commercial Lighting Industry                             2,698.64                 NA             NA            0.00


            Commercial Services
            Unlimited                                                 150.00                  NA             NA            0.00


            Competitive Enterprises                                   200.00                  NA             NA            0.00




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                                                              CLAIMS              CLAIMS
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                                                            SCHEDULED            ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                          CLAIMS PAID
                                                             (from Form        (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)               Claim)

            Consolidated Disposal Svc.                               704.06                  NA             NA            0.00


            Consolidated Irrigation                                   80.40                  NA             NA            0.00


            Constable                                                182.11                  NA             NA            0.00


            Contra Costa Water                                      1,825.76                 NA             NA            0.00


            Contreras NOE                                           4,024.41                 NA             NA            0.00


            Coors of Las Vegas                                       110.80                  NA             NA            0.00


            Corporation Service Company                             4,190.40                 NA             NA            0.00


            Cosgrave Vergeer Kester                                  232.45                  NA             NA            0.00


            Cottonwood Improvement
            Dis.                                                      36.00                  NA             NA            0.00


            Cox Communication                                        139.60                  NA             NA            0.00


            Cozzini Bros. Inc.                                      1,232.00                 NA             NA            0.00


            CPO Ltd.                                                  75.00                  NA             NA            0.00


            CR&R Incorporated                                        278.88                  NA             NA            0.00


            Crest Beverage                                          2,656.30                 NA             NA            0.00


            CSEA                                                     405.80                  NA             NA            0.00


            CSSD                                                     525.25                  NA             NA            0.00




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                                                              CLAIMS               CLAIMS
                                                 UNIFORM
                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Culligan Fresno                                             52.75                 NA             NA            0.00


            Cutting Edge                                                45.10                 NA             NA            0.00


            Cutting Edge Sharpening Svc.                              378.00                  NA             NA            0.00


            D&J Landscape Man                                         214.24                  NA             NA            0.00


            D.M. Recycling Co.                                        245.63                  NA             NA            0.00


            Damian Freidank                                         15,728.22                 NA             NA            0.00


            Dan Peltola                                                 60.00                 NA             NA            0.00


            Daniel Estrada                                           2,346.86                 NA             NA            0.00


            Daniel F. Harbour                                           50.00                 NA             NA            0.00


            Darling International, Inc.                              2,979.20                 NA             NA            0.00


            Darling Int'l Los Angeles                                   20.05                 NA             NA            0.00


            Dataworks, Inc.                                          1,683.71                 NA             NA            0.00


            Date Label Corp                                           110.75                  NA             NA            0.00


            David Burns                                               163.22                  NA             NA            0.00


            David E. Stone                                              50.00                 NA             NA            0.00


            David J. Meadows                                         1,142.49                 NA             NA            0.00


            Davidson-Macri Sweeping                                   182.86                  NA             NA            0.00




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CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Daydots International                                     493.14                  NA             NA            0.00


            Daymark Food Safety System                                243.00                  NA             NA            0.00


            DBI Beverage Inc.                                        1,559.95                 NA             NA            0.00


            DBI Beverage Napa                                         772.80                  NA             NA            0.00


            DBI Beverage San Jose                                     779.80                  NA             NA            0.00


            DC Coffee Products                                          54.94                 NA             NA            0.00


            DCM Services Inc.                                        1,163.48                 NA             NA            0.00


            DDR Family Centers LP                                   95,627.18                 NA             NA            0.00


            De Anza Water Conditioning                                  48.00                 NA             NA            0.00


            De Lage Landen Operational
            Services                                                 1,043.05                 NA             NA            0.00


            Debbie McAndrew                                             50.00                 NA             NA            0.00


            Delta Brands                                              591.85                  NA             NA            0.00


            DeLuca Liquor & Wine Ltd.                                 284.75                  NA             NA            0.00


            Demetrius Bailey                                            50.00                 NA             NA            0.00


            Desert - Isle Beverages                                   149.75                  NA             NA            0.00


            DES-Unemployment Tax                                     1,727.83                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Details Party Rentals & Sales                             171.00                  NA             NA            0.00


            Diamond Head Seafood                                     4,787.21                 NA             NA            0.00


            Diamond Sharp Inc f/k/a
            Diamond Sharp Cutlery                                    1,382.01                 NA             NA            0.00


            Diane Hills                                                 40.00                 NA             NA            0.00


            DirecTV                                                 27,994.42                 NA             NA            0.00


            Discount Plumbing                                        1,119.82                 NA             NA            0.00


            Discover Business Services                               6,902.62                 NA             NA            0.00


            Dish Network                                                 3.90                 NA             NA            0.00


            Donaghy Sales                                             150.00                  NA             NA            0.00


            Dora V. Swanson                                             50.00                 NA             NA            0.00


            Doreen Hays                                                 25.00                 NA             NA            0.00


            Dorothy Eid                                         156,192.89                    NA             NA            0.00


            Douglas Gammon                                            432.58                  NA             NA            0.00


            Douglas Gammon                                           5,414.96                 NA             NA            0.00


            Doyle Travis                                                40.00                 NA             NA            0.00


            Dr. Vinyl of Anchorage                                    625.00                  NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Duke Service Company                                      242.77                  NA             NA            0.00


            Dunnwell LLC                                            23,581.78                 NA             NA            0.00


            Dust Tex Honolulu Inc.                                   2,509.02                 NA             NA            0.00


            Dye Carbonic Inc.; Phoenix
            Welding Supply                                            835.45                  NA             NA            0.00


            Dynacool                                                 1,603.25                 NA             NA            0.00


            East Bay Restaurant Supply                                  97.97                 NA             NA            0.00


            Easy Does It Pest Control                                 104.94                  NA             NA            0.00


            Eaton's Refrigeration                                       64.92                 NA             NA            0.00


            ECMC                                                        17.31                 NA             NA            0.00


            Ecofeed Inc.                                             1,659.68                 NA             NA            0.00


            EcoLab                                                  22,404.59                 NA             NA            0.00


            Edfund A/R - AWG Office                                     87.82                 NA             NA            0.00


            Edward Craig                                                25.00                 NA             NA            0.00


            Edward Michael Bellack dba
            Bellack Contracting                                       523.20                  NA             NA            0.00


            Eight Point Distributors                                 3,172.99                 NA             NA            0.00


            Eileen Baca                                                 25.00                 NA             NA            0.00




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CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Elegance Upholstery Inc.                                14,030.00                 NA             NA            0.00


            Emerald Inc.                                             7,995.15                 NA             NA            0.00


            Emily Anderson                                            166.04                  NA             NA            0.00


            EmployersEdge LLC                                         679.88                  NA             NA            0.00


            Employment Security
            Department                                                  32.77                 NA             NA            0.00


            Emtrain                                                  7,200.00                 NA             NA            0.00


            Enstar Natural Gas Co.                                   5,877.16                 NA             NA            0.00


            Enterprise                                               6,620.04                 NA             NA            0.00


            Environmental Waste Solution                             1,852.82                 NA             NA            0.00


            Equity Thru Energy                                       7,081.00                 NA             NA            0.00


            Ericka Abraham                                           1,598.61                 NA             NA            0.00


            Ernst Trust Washington                                  63,192.30                 NA             NA            0.00


            Errol Kettering                                             50.00                 NA             NA            0.00


            Eskadee's Mobile Sharpening                               100.18                  NA             NA            0.00


            Eversoft                                                 4,564.92                 NA             NA            0.00


            Exclusive Window Cleaning                                 460.00                  NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Express Printing & Grapic                                3,328.12                 NA             NA            0.00


            Extra Space Storgae - Mode                                119.00                  NA             NA            0.00


            Family Support Payment
            Center                                                    184.15                  NA             NA            0.00


            Family Support Registry                                   102.92                  NA             NA            0.00


            Federal Express Corp                                     4,934.02                 NA             NA            0.00


            Federal Express Inc.                                     6,040.17                 NA             NA            0.00


            FedEx                                                     178.70                  NA             NA            0.00


            Felipe Sandoval                                          5,222.79                 NA             NA            0.00


            Fernando Garcia                                          3,796.81                 NA             NA            0.00


            Fir Assoc                                               10,833.33                 NA             NA            0.00


            Fire Ace & Carbonic                                       155.00                  NA             NA            0.00


            Fish Window Cleaning;
            Double Vision Concepts, Inc.                              790.00                  NA             NA            0.00


            Fishbowl Inc.                                           10,035.10                 NA             NA            0.00


            Fluoresco                                               18,346.87                 NA             NA            0.00


            FMP Direct Inc.                                           305.31                  NA             NA            0.00


            Folsom Broadstone Inc.                                   5,679.00                 NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Foothills Mechanical                                     3,734.93                 NA             NA            0.00


            Foster City                                                 90.90                 NA             NA            0.00


            Franchise Tax Board 1                                    1,360.90                 NA             NA            0.00


            Franchise Tax Board 4                                     143.59                  NA             NA            0.00


            Francisco Centeno                                        3,531.99                 NA             NA            0.00


            Francisco Navarro                                       33,428.09                 NA             NA            0.00


            Fresno City Utilities                                    1,861.30                 NA             NA            0.00


            Front Line Sales                                         2,676.72                 NA             NA            0.00


            Frostline Refrigeration                                   162.00                  NA             NA            0.00


            Fruitland Mutual Water Co.                                360.87                  NA             NA            0.00


            Gabriel's Gardening Svc.                                  500.00                  NA             NA            0.00


            Galdino                                                   980.00                  NA             NA            0.00


            Gallo Sales Co.                                           469.00                  NA             NA            0.00


            Garda CL West Inc.                                      17,771.13                 NA             NA            0.00


            Gary Sherman                                            12,534.01                 NA             NA            0.00


            Gasket Guy of King Co.                                    179.85                  NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Gate City Beverage
            Distribution                                             3,855.70                 NA             NA            0.00


            Gatton Electric                                          6,212.50                 NA             NA            0.00


            Gaylon Maddox                                               25.00                 NA             NA            0.00


            GCS Services Inc.                                       17,850.38                 NA             NA            0.00


            Giant CO2                                                1,789.19                 NA             NA            0.00


            GiftCertificates.com                                     3,053.45                 NA             NA            0.00


            Gilton Solid Waste                                       1,567.56                 NA             NA            0.00


            Glacier Design Systems                                      95.00                 NA             NA            0.00


            Glacier Refrigeration                                     695.00                  NA             NA            0.00


            Gloria Mooney                                             350.00                  NA             NA            0.00


            Golden Satate Water
            Company                                                   108.66                  NA             NA            0.00


            Google Inc.                                              5,833.24                 NA             NA            0.00


            Gordon H. Beatty School                                   293.08                  NA             NA            0.00


            Gordon R. Vitus                                             25.00                 NA             NA            0.00


            Grace Barnett                                           26,004.98                 NA             NA            0.00


            Grand Avenue Produce Co.                                53,579.70                 NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Grande Renaissance Const.                               28,610.37                 NA             NA            0.00


            Grossmont Work Training
            Center                                                    196.39                  NA             NA            0.00


            GSI Complete Glass                                          81.53                 NA             NA            0.00


            Hammons Meat Sales Inc.                                   922.89                  NA             NA            0.00


            Hansen Sales                                        126,451.13                    NA             NA            0.00


            Hanson's Water Treatment                                    54.96                 NA             NA            0.00


            Haralambos Beverage Co.                                   300.10                  NA             NA            0.00


            Harbor Distributing LLC                                  5,918.15                 NA             NA            0.00


            Harold Jones Landscape Inc.                               405.00                  NA             NA            0.00


            Hartford Life & Accident
            Insurance                                                2,115.55                 NA             NA            0.00


            Hawaii State Tax Collector                                391.81                  NA             NA            0.00


            Hawaiian Electric Company                               10,069.21                 NA             NA            0.00


            Heimark Distributing Co.                                  323.30                  NA             NA            0.00


            Helen Holden                                                30.00                 NA             NA            0.00


            Hicks Safes & Locks Inc.                                  180.07                  NA             NA            0.00


            High Peaks Water Services                                   74.00                 NA             NA            0.00




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CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            High School Posters LLC                                   170.00                  NA             NA            0.00


            Hill Street Lock & Key                                      64.23                 NA             NA            0.00


            Hinman & Carmichael LLP                                  1,122.77                 NA             NA            0.00


            Hinojosa-Blenders                                        1,269.96                 NA             NA            0.00


            Hobart Sales & Service Corp                               383.13                  NA             NA            0.00


            Hobart Service                                            244.23                  NA             NA            0.00


            Hoffman Southwest Roto
            Rooter                                                   3,211.98                 NA             NA            0.00


            Horizon Beverage Company                                  709.10                  NA             NA            0.00


            Hoshizaki Western D.C. Inc.                               370.00                  NA             NA            0.00


            Hospitality Services Inc.                                1,900.00                 NA             NA            0.00


            Hunter-Davisson Inc.                                      324.60                  NA             NA            0.00


            Hydro Dynamics                                            350.00                  NA             NA            0.00


            Hydro Steam Cleaning
            Services                                                  195.00                  NA             NA            0.00


            I Print N Mail                                           1,170.12                 NA             NA            0.00


            I&J Gardening Services                                    280.00                  NA             NA            0.00


            Icon Identity Solutions                                 35,774.15                 NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Industrial Electric Services                             9,917.14                 NA             NA            0.00


            Internal Revenue Service                                  137.04                  NA             NA            0.00


            Iron Mountain                                            2,191.49                 NA             NA            0.00


            Irvine Ranch Water District                              1,948.16                 NA             NA            0.00


            J S J Electric                                            405.86                  NA             NA            0.00


            J.C.'s Grease Buyers                                     5,150.00                 NA             NA            0.00


            Jack Horner Electric                                      362.73                  NA             NA            0.00


            Jack W. Leroy                                             150.00                  NA             NA            0.00


            Jackie Dimick                                               50.00                 NA             NA            0.00


            Jackie Lynch                                                75.00                 NA             NA            0.00


            Jaime Hernandez                                         12,261.94                 NA             NA            0.00


            James Campbell                                           8,972.56                 NA             NA            0.00


            James Campbell                                            630.50                  NA             NA            0.00


            James R. Coble                                              88.00                 NA             NA            0.00


            Jane Rost                                                 150.00                  NA             NA            0.00


            Jay's Sharpening Service                                  270.00                  NA             NA            0.00


            Jeanne Ehrhart                                               9.41                 NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Jeff Gadberry                                            1,138.55                 NA             NA            0.00


            Jeffco Credit Union                                     40,000.00                 NA             NA            0.00


            Jefferson County Treasurer                               2,778.48                 NA             NA            0.00


            Jeffrey J. Gadberry                                      1,270.09                 NA             NA            0.00


            Jennifer Hale                                               25.00                 NA             NA            0.00


            Jet-Set Cleaning                                          376.60                  NA             NA            0.00


            Jim Boegman                                                 50.00                 NA             NA            0.00


            Jim Thomasson, Thomasson
            Window Cleaning Inc.                                      260.00                  NA             NA            0.00


            Jimmy Taylor                                             8,668.70                 NA             NA            0.00


            Joann Duvernay                                          15,436.81                 NA             NA            0.00


            Joe Baughman                                                50.00                 NA             NA            0.00


            John Jackson                                              175.00                  NA             NA            0.00


            John Lindh                                                972.32                  NA             NA            0.00


            Johnson Bros. of Hawaii Inc.                              343.34                  NA             NA            0.00


            Johnson Brothers of Nevada,
            f/k/a Alternative Beverage                                120.42                  NA             NA            0.00


            Jordan Valley Water Conser.                                  6.65                 NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Joshua's Sweeping Services                                300.00                  NA             NA            0.00


            Joyce Knutson                                               50.00                 NA             NA            0.00


            Justin Devenberg                                            50.00                 NA             NA            0.00


            Karen Hager                                               100.00                  NA             NA            0.00


            Karin Ritzer                                                25.00                 NA             NA            0.00


            Kasey Spatz                                             37,690.11                 NA             NA            0.00


            Kathleen Remer                                      158,829.35                    NA             NA            0.00


            Kathy Schafer                                               25.00                 NA             NA            0.00


            Kay Robinson                                                25.00                 NA             NA            0.00


            KD Electric                                               930.36                  NA             NA            0.00


            Ken Madison                                                 25.00                 NA             NA            0.00


            Kennedy Electric                                         3,399.46                 NA             NA            0.00


            Kenneth E. Stamm                                          125.00                  NA             NA            0.00


            Kern County Hood & Vents                                  325.00                  NA             NA            0.00


            Kevin Moeller                                           44,304.93                 NA             NA            0.00


            Kimberlee Dabbs                                           263.05                  NA             NA            0.00


            Kirk Richardson                                             50.00                 NA             NA            0.00




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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            KJI Plumbing, Inc.                                        127.50                  NA             NA            0.00


            Koch Sheet Metal Inc.                                     511.98                  NA             NA            0.00


            Kravet Fabrics Inc.                                     11,475.90                 NA             NA            0.00


            Kray Cabling Inc.                                         200.90                  NA             NA            0.00


            Kristy DeVries                                              25.00                 NA             NA            0.00


            L.A. Records Management                                   100.00                  NA             NA            0.00


            L.J.K. Food Processing                                    172.00                  NA             NA            0.00


            La Jolla Boiler                                          1,852.55                 NA             NA            0.00


            LA Municipal Service                                    13,484.21                 NA             NA            0.00


            La Tierra Madre                                          1,522.02                 NA             NA            0.00


            Lakeview Light & Power                                   1,544.38                 NA             NA            0.00


            Lakewood Refuse Service                                   529.35                  NA             NA            0.00


            Landmark Label                                            309.10                  NA             NA            0.00


            Laser Saver Inc.                                          242.17                  NA             NA            0.00


            Laura Burtch                                                50.00                 NA             NA            0.00


            Lawnman Commercial
            Landscape                                                 705.26                  NA             NA            0.00




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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Light Bulbs Etc.                                          376.63                  NA             NA            0.00


            Lightstat Inc.                                              87.00                 NA             NA            0.00


            Lindsi Stevens                                              35.00                 NA             NA            0.00


            Lisa Pepperworth                                            50.00                 NA             NA            0.00


            Lisa Weber                                                  40.00                 NA             NA            0.00


            Litchfield Park Service Co.                              1,578.25                 NA             NA            0.00


            Lloyd's Refrigeration Inc.                                995.00                  NA             NA            0.00


            Loomis Fargo & Co.                                        883.60                  NA             NA            0.00


            Lordsburg Communication                                 13,758.25                 NA             NA            0.00


            Lynn's Locksmith Service                                  103.71                  NA             NA            0.00


            M E Fox & Company Inc.                                   2,664.30                 NA             NA            0.00


            M G Disposal Service                                      172.76                  NA             NA            0.00


            M.C. Landscape Service                                   3,195.00                 NA             NA            0.00


            Macerich Lakewood LLC                                     300.77                  NA             NA            0.00


            Magic Carpet Cleaners Inc.                                460.00                  NA             NA            0.00


            Magnuson Industries. Inc.                                   42.38                 NA             NA            0.00


            Maita Distributing, Inc.                                  424.00                  NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Maloof Distributing                                      1,007.00                 NA             NA            0.00


            Mantey Heating & A/C                                      188.27                  NA             NA            0.00


            Manuel Cuevas-Arreola                                   15,700.05                 NA             NA            0.00


            Marbella Ortiz                                          22,046.99                 NA             NA            0.00


            Marcos Escobar Garcia                                   12,138.78                 NA             NA            0.00


            Margaret Schenck                                        43,866.97                 NA             NA            0.00


            Maria Torres                                            11,697.78                 NA             NA            0.00


            Mark A. Chandler                                            60.00                 NA             NA            0.00


            Mark Boeckman                                            1,035.16                 NA             NA            0.00


            Mark Corro                                                380.00                  NA             NA            0.00


            Mark Nelson                                             39,228.62                 NA             NA            0.00


            Mark P. Boeckman                                         7,194.00                 NA             NA            0.00


            Markstein Beverage                                        948.10                  NA             NA            0.00


            Markstein Beverage - SAC                                 1,150.70                 NA             NA            0.00


            Markstein Beverage - San
            Marcos                                                   1,251.75                 NA             NA            0.00


            Martha Van Winkle                                       28,141.17                 NA             NA            0.00




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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Mary Ann Greenfield                                      5,464.03                 NA             NA            0.00


            Mary Chastain                                           13,904.06                 NA             NA            0.00


            Master Environmental Svc.                                 341.74                  NA             NA            0.00


            Matagrano Inc.                                            533.15                  NA             NA            0.00


            May Almli                                           113,183.54                    NA             NA            0.00


            Megapath Inc.                                       110,094.28                    NA             NA            0.00


            Melissa Mawhinney                                       60,509.36                 NA             NA            0.00


            Meredith Rank Taylor                                     2,424.12                 NA             NA            0.00


            Meredith Rank Taylor                                     1,357.84                 NA             NA            0.00


            Merrill Communications LLC                                875.90                  NA             NA            0.00


            Mesa Disbributing Co                                     4,750.55                 NA             NA            0.00


            Michael Ball                                             1,601.79                 NA             NA            0.00


            Michael D. Ball                                          1,305.04                 NA             NA            0.00


            Michael Fryman Refrigeration                             7,273.80                 NA             NA            0.00


            Midstate Seafood                                         2,431.07                 NA             NA            0.00


            Mike Richards                                             170.00                  NA             NA            0.00


            Mimeo.com                                                 855.34                  NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Minnesota Child Support                                     30.43                 NA             NA            0.00


            Minuteman Plumbing & Drain                               9,017.66                 NA             NA            0.00


            Minuteman Press                                             14.98                 NA             NA            0.00


            Mission Beverage Co.                                      725.00                  NA             NA            0.00


            Mission Industries #44                                    889.12                  NA             NA            0.00


            Mission Linen                                           68,320.62                 NA             NA            0.00


            Mohammed Khamisani                                      15,040.82                 NA             NA            0.00


            Monte Swick                                                 60.00                 NA             NA            0.00


            Monte Vista Water District                                772.15                  NA             NA            0.00


            Mr. Electric                                              159.00                  NA             NA            0.00


            Mr. K's Custom Upholstery                                 236.41                  NA             NA            0.00


            Murray's Hotel Supply                                       17.36                 NA             NA            0.00


            Nate's Plumbing Inc.                                      581.03                  NA             NA            0.00


            National Distributing Co.                                2,572.39                 NA             NA            0.00


            National Distribution Services
            Inc.                                                     1,240.63                 NA             NA            0.00


            Navitor Inc.                                            14,157.68                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                          CLAIMS PAID
                                                             (from Form        (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)               Claim)

            NC Child Support                                         173.07                  NA             NA            0.00


            Nella Cutlery (Seattle)                                  564.70                  NA             NA            0.00


            Neopost Inc - Postage-On-Call                            115.18                  NA             NA            0.00


            Neopost Leasing                                          769.67                  NA             NA            0.00


            Nevada Beverage Company                                   15.30                  NA             NA            0.00


            Nevada Employment Security                               500.56                  NA             NA            0.00


            Nevada Power Company                                    2,706.35                 NA             NA            0.00


            New Mexico Dept. of Labor                                 88.87                  NA             NA            0.00


            Newcal Industries                                       1,232.95                 NA             NA            0.00


            Niagara Distributing                                        9.69                 NA             NA            0.00


            Nick Brown                                              4,370.56                 NA             NA            0.00


            Nor-Cal Beverage Co. Inc.                                608.30                  NA             NA            0.00


            Nor-Cal Gaskets                                           96.00                  NA             NA            0.00


            Norman Shall & Associates                               1,296.75                 NA             NA            0.00


            NTN Buzztime Inc.                                        287.00                  NA             NA            0.00


            NUC02 Inc. - Fowler
            Carbonics Inc.                                           539.57                  NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
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                                                  CODE
                                                                 6F)                Claim)

            NYS Child Support                                           99.61                 NA             NA            0.00


            Oak Lodge Water District                                  813.80                  NA             NA            0.00


            Oceanic Cable                                               92.37                 NA             NA            0.00


            OCX Network Consultants                                   231.50                  NA             NA            0.00


            Off-Site Management Inc.                                 7,209.04                 NA             NA            0.00


            Opentable Inc.                                           8,270.03                 NA             NA            0.00


            Oregon Department of
            Revenue                                                   457.90                  NA             NA            0.00


            Oscar Navarro                                            5,172.66                 NA             NA            0.00


            Oxarc Inc.                                                586.33                  NA             NA            0.00


            Pacific Beverage Co.                                     1,222.20                 NA             NA            0.00


            Pacific Coast Glove & Safe                                310.35                  NA             NA            0.00


            Pacific Edge Sharpening                                  1,892.50                 NA             NA            0.00


            Pacific Fresh Seafood                                   21,685.68                 NA             NA            0.00


            Pacific Gas & Electric                                  70,899.78                 NA             NA            0.00


            Pacific Seafood of Arizona                               6,226.20                 NA             NA            0.00


            Pacific Water Conditioning
            Industrial Service Inc.                                   897.00                  NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
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                                                  CODE
                                                                 6F)                Claim)

            Pam Bertucci                                                75.00                 NA             NA            0.00


            Paradise Beverage Inc.                                   2,453.13                 NA             NA            0.00


            Park Disposal                                             772.92                  NA             NA            0.00


            Parker Corp. Service dba
            Whatcom Security Agency                                  1,380.00                 NA             NA            0.00


            Patricia Muller                                             25.00                 NA             NA            0.00


            Patsy Martinez                                              25.00                 NA             NA            0.00


            Paula J. Stover                                             60.00                 NA             NA            0.00


            Paul's Safe & Lock                                        249.80                  NA             NA            0.00


            Pedro Martinez                                            300.00                  NA             NA            0.00


            Peggy Maddock                                               50.00                 NA             NA            0.00


            Peninsula Digital Imaging                                   82.59                 NA             NA            0.00


            Pepsi-Cola                                               1,755.36                 NA             NA            0.00


            Personnel Concepts                                       1,932.30                 NA             NA            0.00


            Petty Cash                                                232.39                  NA             NA            0.00


            Pierce County Sewer                                       877.49                  NA             NA            0.00


            Pima/Rodriguez Fiesta Plaza                             11,643.44                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Pinnacle Publishing LLC                                  1,097.00                 NA             NA            0.00


            Pipe Maintenance Service                                  510.00                  NA             NA            0.00


            PK II Holdco LLC                                        20,738.68                 NA             NA            0.00


            Pleasant Hill Police Dept.                                100.00                  NA             NA            0.00


            PNM Electric and Gas Service                             5,778.48                 NA             NA            0.00


            Polar Refrigeration                                       508.15                  NA             NA            0.00


            Polaris Refrigeration                                    4,654.07                 NA             NA            0.00


            Polo's Produce                                            366.00                  NA             NA            0.00


            Pomfret Estates Inc.                                    18,917.04                 NA             NA            0.00


            Portfolio Legal Services                                10,000.00                 NA             NA            0.00


            Portland General Electric                                1,507.86                 NA             NA            0.00


            Praxair Distribution Inc.                                 338.97                  NA             NA            0.00


            Precision Cleaning
            Technicians                                               155.00                  NA             NA            0.00


            Premier Distributing Co.                                  842.30                  NA             NA            0.00


            Prestige Event Security                                   512.00                  NA             NA            0.00


            Pricketts Distr. Inc.                                     176.29                  NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Priscilla Ruiz                                           7,444.19                 NA             NA            0.00


            Pro Star Mechanical                                      3,562.15                 NA             NA            0.00


            Pro-Edge Knife                                           1,832.00                 NA             NA            0.00


            Professional Air-Vent
            Cleaning                                                 4,744.00                 NA             NA            0.00


            Professional Pool Service                                 200.00                  NA             NA            0.00


            Professional Sharpening                                  1,193.33                 NA             NA            0.00


            Pro-Staff Mechanical Inc.                                 722.64                  NA             NA            0.00


            Protection One                                            684.21                  NA             NA            0.00


            Puget Sound Energy                                      41,616.86                 NA             NA            0.00


            Quality Water                                             192.04                  NA             NA            0.00


            R&L Carpet & Upholstery
            Cleaning                                                  587.81                  NA             NA            0.00


            Rainbow Disposal Co.                                      369.82                  NA             NA            0.00


            Ralph E. Lucero                                             25.00                 NA             NA            0.00


            Ramon Castro                                            46,071.06                 NA             NA            0.00


            Ramsay Crandalls                                            25.00                 NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Rancho California Water
            District                                                  708.33                  NA             NA            0.00


            Ray Setabut                                             14,726.42                 NA             NA            0.00


            Raymundo Gomez                                           9,694.90                 NA             NA            0.00


            Rayne Water Conditioning                                 1,277.00                 NA             NA            0.00


            Rayne Water Systems                                       469.00                  NA             NA            0.00


            Ray's Beverage Co.                                        417.00                  NA             NA            0.00


            RBS/CRP Inc.                                              830.36                  NA             NA            0.00


            Reco Refrigeration Equipment                              389.94                  NA             NA            0.00


            Regal Wine Company                                       4,830.00                 NA             NA            0.00


            Republic Services of Southern
            Nevada                                                    388.22                  NA             NA            0.00


            Rescue Rooter-Kent                                        497.48                  NA             NA            0.00


            Restoration Vinyl Repair                                  228.69                  NA             NA            0.00


            Reyel Conner                                                50.00                 NA             NA            0.00


            Rich Dimisko                                                25.00                 NA             NA            0.00


            Richard D. Rogers                                         163.35                  NA             NA            0.00


            Richard Schaffer                                         5,479.75                 NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Rick Peters                                               491.60                  NA             NA            0.00


            Riconda Brown                                           21,293.67                 NA             NA            0.00


            Ron Englund                                              2,664.93                 NA             NA            0.00


            Ron Zimmer                                                803.30                  NA             NA            0.00


            Ronald P. Maccarone                                       563.03                  NA             NA            0.00


            Ronald P. Maccarone                                     13,376.64                 NA             NA            0.00


            Ronald Vance                                              125.00                  NA             NA            0.00


            Rooter 2000                                                 80.00                 NA             NA            0.00


            Roseville Chamber of
            Commerce                                                  579.00                  NA             NA            0.00


            Roto Rooter Minneapolis                                  2,106.04                 NA             NA            0.00


            Roto Rooter Phoenix                                      6,971.77                 NA             NA            0.00


            Roto Rooter Pleasanton                                    619.25                  NA             NA            0.00


            Roto Rooter Plumbing Service                             1,188.88                 NA             NA            0.00


            Roto Rooter Santa Clara                                   875.59                  NA             NA            0.00


            Roto Rooter Service &
            Plumbing                                                  793.52                  NA             NA            0.00


            Roto Rooter Tucson #22                                    627.27                  NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Roto Rooter Yakima                                        856.80                  NA             NA            0.00


            Rowland Are Water Dist.                                     36.75                 NA             NA            0.00


            RRAM Maintenance                                          442.49                  NA             NA            0.00


            Ruben Gonzalez                                            160.00                  NA             NA            0.00


            Rum Runners                                               104.00                  NA             NA            0.00


            SMUD                                                     6,398.92                 NA             NA            0.00


            Sadler Roofing Co.                                       3,240.00                 NA             NA            0.00


            Saguaro Environmental
            Service                                                   211.12                  NA             NA            0.00


            Salt River Project - SRP                                10,549.07                 NA             NA            0.00


            Samantha Minister                                       13,280.23                 NA             NA            0.00


            San Bernardino Water Dept.                                757.35                  NA             NA            0.00


            San Jose Water Works                                     4,766.34                 NA             NA            0.00


            Sandra Bryan                                            15,086.33                 NA             NA            0.00


            Sandra McLeod & Richard
            Corbett                                                 29,850.00                 NA             NA            0.00


            Sandy City                                                  73.60                 NA             NA            0.00


            Sandy Maggard                                           44,685.33                 NA             NA            0.00




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                                                              CLAIMS              CLAIMS
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                                                  CODE
                                                                 6F)               Claim)

            Sarah Eiden Smith                                         25.00                  NA             NA            0.00


            Scott N. Johnson                                        2,500.00                 NA             NA            0.00


            Scott Peterson Productions                              5,686.94                 NA             NA            0.00


            SD Rooter & Plumbing                                    5,457.70                 NA             NA            0.00


            Seahurst Electric Inc.                                   545.47                  NA             NA            0.00


            Security Products Inc.                                    95.88                  NA             NA            0.00


            Selective Seasonings                                    2,095.99                 NA             NA            0.00


            Sentinel Silent Alarm Co.                                101.58                  NA             NA            0.00


            Service Now! Roto Rooter                                 475.00                  NA             NA            0.00


            Service Solutions Group LLC                             1,198.43                 NA             NA            0.00


            Sew Bee It Embroidery                                    681.51                  NA             NA            0.00


            Sharon Johnson-Delgado                                  6,403.05                 NA             NA            0.00


            Shauna Thomas                                             30.00                  NA             NA            0.00


            Sheri Burtness                                          1,272.56                 NA             NA            0.00


            Sheriff Santa Clara County                               391.19                  NA             NA            0.00


            Sheriff's Court Svcs Central                              63.25                  NA             NA            0.00


            Sherri Carroll                                          3,494.00                 NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Shobu's Refrigeration & AC                               5,469.29                 NA             NA            0.00


            Shred-it Central California                               109.70                  NA             NA            0.00


            Shred-it San Jose                                         644.40                  NA             NA            0.00


            Shyla Feliciano                                         22,849.04                 NA             NA            0.00


            Skaggs Carpet & Furniture                                 480.00                  NA             NA            0.00


            Skurla's Business Systems                                 348.64                  NA             NA            0.00


            So Cal Locksmith                                          120.00                  NA             NA            0.00


            Sonoran Environments
            (Emerald Landscaping)                                    6,807.86                 NA             NA            0.00


            South Sound Gasket Guy                                    283.97                  NA             NA            0.00


            Southern Cal Edison                                     47,476.81                 NA             NA            0.00


            Southern Wine & Spirits - HI                             1,826.54                 NA             NA            0.00


            Southern Wine & Spirits - N.
            Cal                                                     29,525.39                 NA             NA            0.00


            Southern Wine & Spirits -
            N.M.                                                     2,329.68                 NA             NA            0.00


            Southern Wine & Spirits - So.
            Cal                                                     47,107.35                 NA             NA            0.00




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                                                  CODE
                                                                 6F)                Claim)

            Southern Wine & Spirits of
            Nevada                                                   1,281.88                 NA             NA            0.00


            Southwest Gas Corp.                                     16,306.68                 NA             NA            0.00


            Southwest Mechanical                                     2,925.00                 NA             NA            0.00


            Speedy Sign Center                                          81.88                 NA             NA            0.00


            Spokane Booth & Table                                    1,130.48                 NA             NA            0.00


            Spokane County Utilities                                 1,128.53                 NA             NA            0.00


            Sprint                                                      60.78                 NA             NA            0.00


            SSD Systems                                              4,880.27                 NA             NA            0.00


            Stacy Wade                                                  50.00                 NA             NA            0.00


            Stainless Plus Inc.                                       195.00                  NA             NA            0.00


            Stan the Hot Water Man -
            Spirit Enterprises                                        192.96                  NA             NA            0.00


            Stanislaus Distributing Co.                               366.00                  NA             NA            0.00


            Stanley Buckmaster                                          96.40                 NA             NA            0.00


            Stan's Old Town Vacuum                                    120.00                  NA             NA            0.00


            Staples                                                  3,087.53                 NA             NA            0.00


            Staples Business Advantage                              32,174.24                 NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Starbridge HRG                                          47,747.90                 NA             NA            0.00


            Starbucks Coffee Company                                17,860.33                 NA             NA            0.00


            State Collection and
            Disbursement (NV)                                         381.67                  NA             NA            0.00


            State Corporation
            Commission (NM)                                             50.00                 NA             NA            0.00


            State of Florida Disbursement                               84.75                 NA             NA            0.00


            State of Washington Dept. of
            Revenue                                                   305.72                  NA             NA            0.00


            Stefanelli Distributing Co.                               397.90                  NA             NA            0.00


            Steiner and Company                                       654.78                  NA             NA            0.00


            Steve Foshay                                            15,798.57                 NA             NA            0.00


            Steven Leasure                                              75.00                 NA             NA            0.00


            Steward's Plumbing Inc.                                   875.35                  NA             NA            0.00


            Stoel Rives LLP                                           700.86                  NA             NA            0.00


            Straitshot                                                986.43                  NA             NA            0.00


            Straub Distributing Co. Inc.                             2,348.40                 NA             NA            0.00


            Stuart Miller                                             100.00                  NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
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            Suburban Water Systems                                   1,024.66                 NA             NA            0.00


            Sunshine Window Cleaning                                    67.76                 NA             NA            0.00


            Superior Uniform Company                                  297.73                  NA             NA            0.00


            Superstition Springs CMA
            Homeowner's Association                                   312.41                  NA             NA            0.00


            Supply Technology Inc.                                    332.06                  NA             NA            0.00


            Swanson's Refrigeration                                   209.46                  NA             NA            0.00


            Swisher Hygiene Franchisee                                460.72                  NA             NA            0.00


            Sysco Food Services of AZ                           552,572.46                    NA             NA            0.00


            Sysco Food Services of Cen                          466,610.67                    NA             NA            0.00


            Sysco Food Services of Las
            Vegas                                                   55,503.42                 NA             NA            0.00


            Sysco Food Services of Los
            Angeles                                            1,434,482.16                   NA             NA            0.00


            Sysco Food Services of NM                               73,366.72                 NA             NA            0.00


            Sysco Food Services of San
            Diego                                               441,913.30                    NA             NA            0.00


            Sysco Food Services of San
            Francisco                                           679,556.48                    NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Sysco Food Services of
            Seattle                                             522,520.97                    NA             NA            0.00


            T. Binder Electric                                       1,133.00                 NA             NA            0.00


            Talx Corporation                                         9,500.00                 NA             NA            0.00


            Tama Reed                                                   50.00                 NA             NA            0.00


            Tara Hansen                                                 50.00                 NA             NA            0.00


            Teardrop Partners L.P.                                  65,547.69                 NA             NA            0.00


            Technical Bldg. Services                                  428.00                  NA             NA            0.00


            Teddy's Tasty Meats Inc.                                  155.61                  NA             NA            0.00


            Tedi DuPont                                                 25.00                 NA             NA            0.00


            Terry Behunin                                               35.00                 NA             NA            0.00


            The Awning Cleaners                                       800.00                  NA             NA            0.00


            The Brickman Group Ltd LLC                                844.32                  NA             NA            0.00


            The City of San Diego Water
            & Wastewater Service                                     2,444.04                 NA             NA            0.00


            The Coffee Brewer Doctors                                   60.00                 NA             NA            0.00


            The Gas Company (HI)                                     3,935.05                 NA             NA            0.00


            The Glass Door LLC                                        454.44                  NA             NA            0.00




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                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            The Monitor Security Pro. dba
            RB Enterprises                                            645.88                  NA             NA            0.00


            The Montague Co.                                          340.42                  NA             NA            0.00


            The Odom Corp                                            1,355.67                 NA             NA            0.00


            The Pepsi Bottling Group                                 1,850.87                 NA             NA            0.00


            The Steritech Group Inc.                                18,320.22                 NA             NA            0.00


            The Tapman PK                                             135.00                  NA             NA            0.00


            The Wasserstrom Company                                 54,733.99                 NA             NA            0.00


            Thomas Devinney                                           938.90                  NA             NA            0.00


            Thomas Evans                                                40.00                 NA             NA            0.00


            Tim Blackham                                                50.00                 NA             NA            0.00


            Time Warner Cable                                           77.67                 NA             NA            0.00


            Time Warner f/k/a Adelphia                                  13.96                 NA             NA            0.00


            Timothy J. Burns                                        13,696.34                 NA             NA            0.00


            Tino Garcia                                                 20.00                 NA             NA            0.00


            TLC Plumbing & Utility                                      84.87                 NA             NA            0.00


            Tom Taylor                                                770.79                  NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Top Notch Window & Gutter
            Cleaning                                                  120.00                  NA             NA            0.00


            Tracey Taylor                                             487.75                  NA             NA            0.00


            Traci Erickson                                           6,548.52                 NA             NA            0.00


            Tracy S&S Electric                                        998.55                  NA             NA            0.00


            Triangle Dist. Co.                                       1,310.05                 NA             NA            0.00


            Tricor Print Communication                              49,699.06                 NA             NA            0.00


            Tri-County Locksmith                                        57.00                 NA             NA            0.00


            Tri-Eagle Beverage Company                                704.85                  NA             NA            0.00


            Trisystems Inc.                                           298.42                  NA             NA            0.00


            Trojan Storage                                            104.00                  NA             NA            0.00


            TruGreen Landcare                                         862.00                  NA             NA            0.00


            TruGreen Lawn Service                                     216.80                  NA             NA            0.00


            Tucson Electric Power Co.                                4,346.56                 NA             NA            0.00


            Tundra Specialties                                       7,967.76                 NA             NA            0.00


            Twang Inc.                                                504.00                  NA             NA            0.00


            Tyms                                                      213.51                  NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Tyrone Shacklefoot                                       1,952.83                 NA             NA            0.00


            U.S. Healthworks Medical
            Grp                                                       520.00                  NA             NA            0.00


            U.S. Linen & Uniform                                     2,415.00                 NA             NA            0.00


            Uncle Sam's Carpet Cleaning                               450.00                  NA             NA            0.00


            United Healthcare Specialty
            (Unimerica)                                             22,288.55                 NA             NA            0.00


            United Parcel Service                                     121.18                  NA             NA            0.00


            United Refrigeration                                      535.50                  NA             NA            0.00


            United States Treasury
            (Internal Revenue Service)                                135.00                  NA             NA            0.00


            US Air Conditioning                                     16,638.93                 NA             NA            0.00


            US Department of Education                                112.76                  NA             NA            0.00


            Vagabond Welding Supply                                     71.00                 NA             NA            0.00


            Valencia Water Company                                    264.64                  NA             NA            0.00


            Vallejo Garbage Service                                  3,589.48                 NA             NA            0.00


            Vallejo Sanitation and Flo
            Control District                                         1,245.24                 NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Valley Crest Landscape
            Maintenance                                               350.00                  NA             NA            0.00


            Valley Electric Inc.                                     2,183.68                 NA             NA            0.00


            Valleywide Beverage                                       457.95                  NA             NA            0.00


            Vantage Air Inc.                                         6,751.76                 NA             NA            0.00


            Varner Bros Inc.                                            36.66                 NA             NA            0.00


            Vasile's Custom Upholstery                                451.00                  NA             NA            0.00


            Vera Zay                                            531,941.11                    NA             NA            0.00


            Veronica Vazquez                                    122,388.04                    NA             NA            0.00


            W.A. Thompson Coors                                      1,176.80                 NA             NA            0.00


            W.A. Thompson Inc.                                       1,206.05                 NA             NA            0.00


            Walnut Plaza                                            25,542.40                 NA             NA            0.00


            Wang Electric Inc.                                       3,259.73                 NA             NA            0.00


            Washington Dept. Labor                                  54,302.49                 NA             NA            0.00


            Washington State Support                                 1,063.48                 NA             NA            0.00


            Waste Connections
            (Vancouver District)                                     1,038.80                 NA             NA            0.00


            Waste Management                                         8,083.93                 NA             NA            0.00




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                                                              CLAIMS               CLAIMS
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                                                            SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form         (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)                Claim)

            Waxie Sanitary Supply                                       61.56                 NA             NA            0.00


            Wayco-Speedy Bar Inc.                                     148.36                  NA             NA            0.00


            Welldone Restaurant
            Concepts                                                  768.93                  NA             NA            0.00


            Wells Fargo Shareowner                                   3,068.26                 NA             NA            0.00


            West Coast Gasket Inc.                                    956.00                  NA             NA            0.00


            WestAir Gases & Equipment
            f/k/a San Diego Welders
            Supply                                                   2,935.10                 NA             NA            0.00


            Western Pacific Distribution                             1,050.00                 NA             NA            0.00


            Western-Pacific Services                                 4,800.00                 NA             NA            0.00


            Where2GetIt Inc.                                          466.76                  NA             NA            0.00


            Wilbur Curtis Co. Inc.                                   1,253.99                 NA             NA            0.00


            William C. Wright                                           25.00                 NA             NA            0.00


            Willis of Illinois Inc.                                  4,166.67                 NA             NA            0.00


            Wilson Enterprises                                        517.43                  NA             NA            0.00


            Wine Warehouse                                           4,709.12                 NA             NA            0.00


            Wine Warehouse - LA                                     10,100.56                 NA             NA            0.00




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                                                                  CLAIMS               CLAIMS
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                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

               WineDoggyBag.com LLC                                         26.25                 NA              NA              0.00


               Wing Latino                                               2,565.00                 NA              NA              0.00


               Winifred I. Jordan                                           25.00                 NA              NA              0.00


               World Wide Produce                                   158,460.01                    NA              NA              0.00


               Wrightson Karean Sloan                                     582.54                  NA              NA              0.00


               Y. Fukunaga Products Ltd.                                20,594.47                 NA              NA              0.00


               Yakima Waste Systems Inc.                                  375.82                  NA              NA              0.00


               Yardbird Yard Care                                         216.00                  NA              NA              0.00


               Young's Market Company                                   55,997.85                 NA              NA              0.00


               Zee Medical Inc.                                           116.99                  NA              NA              0.00


               Zee Medical Service Co.                                      32.07                 NA              NA              0.00


385            ADT Security Services                7100-000                  NA                 0.00             0.00            0.00


386            ADT Security Services                7100-000                  NA                 0.00             0.00            0.00


387            ADT Security Services                7100-000             2,445.45          14,558.91       14,558.91              0.00


388            ADT Security Services                7100-000             1,631.10            8,482.35       8,482.35              0.00


395GL          Advance Beverage Co.                 7100-000             1,585.70            1,563.10       1,563.10              0.00


104            Alaska Waste                         7100-000             1,986.93            1,064.71       1,064.71              0.00




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                                                                  CLAIMS               CLAIMS
                                                    UNIFORM
                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

               Allan A Sebanc Beverly M
               Sebanc Kenneth D McCloskey
285-2          and Char                             7100-000                  NA          678,244.42      678,244.42              0.00


               AMADOR VALLEY
410GL          INDUSTRIES                           7100-000              997.46               949.28           949.28            0.00


               AMERICAN
47             LITHOGRAPHERS INC                    7100-000            16,607.60          16,607.60        16,607.60             0.00


398GL          Art Piccadilly Inn University        7100-000             6,124.47            3,062.24             0.00            0.00


               ATLAS PUMPING
429GL          SERVICE                              7100-000             2,135.00            2,135.00        2,135.00             0.00


14             Bargreen Ellingson Inc               7100-000             1,366.20            1,586.16        1,586.16             0.00


               BAY WEST LANDSCAPE
22             VIN NO 72005                         7100-000                  NA                 0.00             0.00            0.00


               BAY WEST LANDSCAPE
3GEL           VIN NO 72005                         7100-000             2,585.00            1,506.00        1,506.00             0.00


               BAY WEST LANDSCAPE
411GL          VIN NO 72005                         7100-000                  NA             1,085.00        1,085.00             0.00


               BELDOMFIA PROPERTIES,
457GL          LLC                                  7100-000            18,770.00       3,240,000.00     3,240,000.00             0.00


               BELDOMFIA PROPERTIES,
458GL          LLC                                  7100-000                  NA          849,420.00      849,420.00              0.00




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                                                                  CLAIMS               CLAIMS
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                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

328            Burton M Saft                        7100-000                  NA          667,462.92      667,462.92              0.00


48             BUSY D PUMPING INC                   7100-000              597.07               597.07           597.07            0.00


               C & S FOOD EQUIPMENT
43B            SERVICES                             7100-000             6,783.69                0.00       6,352.31              0.00


12GEL          CBS RADIO INC                        7100-000            84,162.52          84,163.02       84,163.02              0.00


289GL          CBS RADIO INC                        7100-000                  NA                 0.00             0.00            0.00


459GL          CBS RADIO INC                        7100-000                  NA                 0.00             0.00            0.00


2-2            CDW CORPORATION                      7100-000             4,446.76              835.95           835.95            0.00


210            CHEF DUDS /ECHEF                     7100-000              611.59               819.80           819.80            0.00


408GL          CHEF DUDS /ECHEF                     7100-000                  NA                 0.00             0.00            0.00


               CHUGACH ELECTRIC
463GL2         ASSOCIATION                          7100-000            11,710.67            2,440.13      11,710.67              0.00


               Circle Plumbing & Heating,
430GL          Inc                                  7100-000                  NA             2,261.28       2,261.28              0.00


438GL          City of Folsom                       7100-000             1,263.34            1,875.93       1,875.93              0.00


               City of Henderson Department
450GL          of Utilities                         7100-000              584.13               699.31           699.31            0.00




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                                                                  CLAIMS            CLAIMS
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                                                                SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                                 (from Form      (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)             Claim)

               City of Los Angeles,
               Department of Water and
240            Power                                7100-000              NA            13,574.59       13,574.59              0.00


449GL          City of Oceanside                    7100-000             75.00            1,149.75       1,149.75              0.00


               City of San Bernardino Refuse
442GL          Department                           7100-000            784.00            1,169.18       1,169.18              0.00


420GL          City of Sunnyvale                    7100-000              NA              4,385.62       4,385.62              0.00


130            City of Tucson                       7100-000            963.59            1,172.23       1,172.23              0.00


247            City of Tucson                       7100-000              NA                  0.00             0.00            0.00


432GL          City of Vallejo                      7100-000            727.07            1,743.62       1,743.62              0.00


405GL          City of Vancouver                    7100-000            909.13            1,635.53       1,635.53              0.00


201            Clean Advantage LLC                  7100-000            539.00              539.00           539.00            0.00


423GL          Clean Advantage LLC                  7100-000              NA                  0.00             0.00            0.00


               COCA COLA BTLG CO
443GL          Sacramento Fortuna Division          7100-000            102.50              243.25           243.25            0.00


               Commercial Upholstery &
453GL          Remodeling Co.                       7100-000            870.45              870.45           870.45            0.00


3              Country Casual Inc                   7100-000              NA                294.25           294.25            0.00




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                                                                  CLAIMS               CLAIMS
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                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

               DEPARTMENT OF WATER
               AND POWER CITY OF LOS
10GEL          ANGELES                              7100-000                  NA             6,136.57       6,136.57              0.00


               Dublin San Ramon Services
211            District                             7100-000             6,023.71            1,098.08       1,098.08              0.00


108            Dun & Bradstreet                     7100-000                  NA             9,654.25       9,654.25              0.00


               Employment Development
356-2          Department                           7100-000                  NA             6,242.17     970,112.09              0.00


               Employment Development
357-2          Department                           7100-000                  NA                 0.00             0.00            0.00


               Enviroscape Landscape
403GL          Solutions                            7100-000              400.00               400.00           400.00            0.00


               ERNEST
451GL          COMMUNICATIONS INC                   7100-000            24,505.06          13,357.53       13,357.53              0.00


249            FIN/CO PARTNERS                      7100-000                  NA          128,636.14      128,636.14              0.00


413GL          First Aid & Safety 2000              7100-000                  NA               676.64           676.64            0.00


35B            General Produce Co Ltd               7100-000            80,955.63                0.00       1,698.71              0.00


412GL          Gilkey & Stephenson PA               7100-000                  NA             5,980.00       5,980.00              0.00


               Griffin Capital ARG
142            Restaurants Investors LLC            7100-000                  NA                 0.00             0.00            0.00




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                                                                  CLAIMS              CLAIMS
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                                                                SCHEDULED            ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                              CLAIMS PAID
                                                                 (from Form        (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)               Claim)

               Griffin Capital ARG
145            Restaurants Investors LLC            7100-000                NA                  0.00             0.00            0.00


               Griffin Capital ARG
146            Restaurants Investors LLC            7100-000                NA                  0.00             0.00            0.00


               Griffin Capital ARG
149            Restaurants Investors LLC            7100-000                NA                  0.00             0.00            0.00


               Griffin Capital ARG
337            Restaurants Investors LLC            7100-000                NA           758,662.31      758,662.31              0.00


               Griffin Capital ARG
338            Restaurants Investors LLC            7100-000                NA           785,085.67      785,085.67              0.00


               Griffin Capital ARG
340            Restaurants Investors LLC            7100-000                NA           770,913.32      770,913.32              0.00


               Griffin Capital ARG
341            Restaurants Investors LLC            7100-000                NA           773,601.13      773,601.13              0.00


               Griffin Capital ARG
346            Restaurants Investors LLC            7100-000                NA           925,360.64      925,360.64              0.00


               Griffin Capital ARG
347            Restaurants Investors LLC            7100-000                NA           746,880.12      746,880.12              0.00


422GL          Hardware Sales Inc.                  7100-000                NA                 24.49           24.49             0.00


232            HELIX WATER DISTRICT                 7100-000            1,212.77            1,206.95       1,206.95              0.00


421GL          HELIX WATER DISTRICT                 7100-000                NA                  0.00             0.00            0.00




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                                                                  CLAIMS              CLAIMS
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                                                                SCHEDULED            ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                              CLAIMS PAID
                                                                 (from Form        (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)               Claim)

               HERITAGE FOOD
115-2          SERVICE EQUIPMENT INC 7100-000                               NA                  0.00             0.00            0.00


               HERITAGE FOOD
22GEL          SERVICE EQUIPMENT INC 7100-000                            244.30               324.96           326.96            0.00


               HERITAGE
464GL          MAINTENANCE SERVICES 7100-000                             995.00             1,370.00       1,370.00              0.00


               HEWLETT-PACKARD
               FINANCIAL SERVICES
21GEL          COMPANY                              7100-000                NA           445,299.76      445,299.76              0.00


7GEL2          Idaho State Tax Commission           7100-000                NA                147.85           147.85            0.00


               JKR LLC dba Service Linen
372            Supply                               7100-000            7,967.07            7,910.00       7,910.00              0.00


460BGL         Joel Urias                           7100-000                NA                  0.00     120,275.61              0.00


               Josephson Werdowatz &
414GL          Assoc                                7100-000                NA                572.00           572.00            0.00


434GL          JP Patti Inc                         7100-000            2,812.25            2,812.25       2,812.25              0.00


400GL          Lakehaven Utility District           7100-000                NA              3,172.67       3,172.67              0.00


               LOS ANGELES COUNTY
393GLB         TREASURER AND                        7100-000                NA                  0.00       8,148.61              0.00


407GLB         M&M Floor Covering Inc               7100-000            1,200.00                0.00       1,200.00              0.00




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                                                                  CLAIMS               CLAIMS
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                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

               MACERICH OAKS
14GEL2         ADJACENT, LLC                        7100-000        211,750.00          1,129,400.52     1,129,400.52             0.00


               MACERICH OAKS
319-2          ADJACENT, LLC                        7100-000                  NA                 0.00             0.00            0.00


               MACERICH SOUTH
               TOWNE LIMITED
13GEL2         PARTNERSHIP                          7100-000            38,376.65         149,835.92      149,835.92              0.00


               MACERICH SOUTH
               TOWNE LIMITED
324-2          PARTNERSHIP                          7100-000                  NA                 0.00             0.00            0.00


               MAGNA SIGN
88             CORPORATION                          7100-000                  NA           15,156.58        15,156.58             0.00


462GL          MALL RING MAGIC LLC                  7100-000                  NA          380,413.00      380,413.00              0.00


               Martin Corso/The M Group
359            LLC                                  7100-000                  NA          127,200.00      127,200.00              0.00


               Martin Corso/The M Group
461GL          LLC                                  7100-000                  NA                 0.00             0.00            0.00


415GL          Merit Manor Apts.                    7100-000                  NA             3,401.38        3,401.38             0.00


               Michael Batista d/b/a/
446GL          Distinctive Landscape                7100-000             5,575.65              415.00           415.00            0.00


               MINDSHARE
83             TECHNOLOGIES INC                     7100-000             8,982.00            8,982.00        8,982.00             0.00




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                                                                  CLAIMS               CLAIMS
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                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

424GL          Modesto Irrigation District          7100-000             2,977.28            5,191.07        5,191.07             0.00


133GL          MVP WASH                             7100-000                  NA                 0.00             0.00            0.00


207GL          MVP WASH                             7100-000                  NA                 0.00             0.00            0.00


6GEL           MVP WASH                             7100-000              300.00               585.00           585.00            0.00


               National Union Fire Insurance
               Company of Pittsburgh Pa
291-2          AIU                                  7100-000                  NA                 0.00             0.00            0.00


               NaviSite Inc Successor in
87             Interest to netASPx Inc              7100-000            48,946.48       1,434,085.06     1,434,085.06             0.00


               NEVADA DEPARTMENT
160-2          OF TAXATION                          7100-000                  NA                 0.00             0.00            0.00


419GL          Nutridata                            7100-000             3,732.75          10,710.75        10,710.75             0.00


276            NW NATURAL                           7100-000                  NA                 0.00             0.00            0.00


425GL          NW NATURAL                           7100-000             4,381.97            4,224.74        4,224.74             0.00


5GEL           NW NATURAL                           7100-000                  NA             1,358.21        1,358.21             0.00


381            Ocean Beauty Seafoods LLC            7100-000                  NA                 0.00             0.00            0.00


390            Ocean Beauty Seafoods LLC            7100-000             9,197.76              215.85           215.85            0.00


426GL          Pacific Power                        7100-000                  NA                 0.00             0.00            0.00


437GL          Pacific Power                        7100-000             2,671.49            6,967.93        6,967.93             0.00




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                                                                  CLAIMS              CLAIMS
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                                                                SCHEDULED            ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                              CLAIMS PAID
                                                                 (from Form        (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)               Claim)

416GL          PATTY J FISHER                       7100-000                NA                 50.00            50.00            0.00


               PECUS ARG MAIN LLC &
               PECUS ARG PARALLEL
11GEL          LLC                                  7100-000                NA        11,583,494.05    11,583,494.05             0.00


               PECUS ARG MAIN LLC &
               PECUS ARG PARALLEL
252            LLC                                  7100-000                NA                  0.00             0.00            0.00


444GL          Pierce County Security               7100-000            5,087.25            2,603.44        2,603.44             0.00


114GL          PPC SOLUTIONS INC                    7100-000                NA                  0.00             0.00            0.00


2GEL           PPC SOLUTIONS INC                    7100-000             120.00               120.00           120.00            0.00


402GL          PPC SOLUTIONS INC                    7100-000                NA                  0.00             0.00            0.00


               Public Service Company of
365            Colorado dba Xcel Energy             7100-000             501.47               392.38           392.38            0.00


               Quality Project Management
454GL          LLC                                  7100-000                NA            43,150.00              0.00            0.00


239            Qwest Corporation                    7100-000              52.03             1,336.41        1,336.41             0.00


242            R Z PUMP & SERVICE                   7100-000             540.00               540.00           540.00            0.00


               Refrigeration & Food
18             Equipment Inc                        7100-000            2,338.89            2,338.39        2,338.39             0.00


455GL          Reliance Insurance Company           7100-000                NA           531,833.00      531,833.00              0.00




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                                                    UNIFORM
                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

               RICHARD ROBERTS
433GL          ENTERPRISE                           7100-000              280.00               420.00           420.00            0.00


               Riverside County Tax
469GLC         Collector                            7100-000             6,244.06                0.00       2,407.00              0.00


452GL          Robert Mock                          7100-000                  NA             1,014.64             0.00            0.00


               ROCKY MOUNTAIN
238            POWER                                7100-000                  NA                 0.00             0.00            0.00


               ROCKY MOUNTAIN
4GEL           POWER                                7100-000             2,494.17            3,171.53       3,171.53              0.00


162            Roto Rooter                          7100-000              883.70             3,251.98       3,251.98              0.00


165            ROTO ROOTER CONCORD 7100-000                               509.25             2,109.25       2,109.25              0.00


396GL          ROTO ROOTER CONCORD 7100-000                                   NA                 0.00             0.00            0.00


               ROTO ROOTER
401GL          PLUMBERS                             7100-000              823.88               429.06           429.06            0.00


427GL          ROTO ROOTER VENTURA 7100-000                               701.00               701.00           701.00            0.00


95B            Route 140 School Street LLC          7100-000                  NA                 0.00     656,237.20              0.00


               Sacramento Municipal Utility
1              District                             7100-000             2,044.03            8,678.97       8,678.97              0.00


               SAN DIEGO GAS & ELEC
321            SDG                                  7100-000            47,368.89          64,533.30       64,533.30              0.00




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                                                                  CLAIMS               CLAIMS
                                                    UNIFORM
                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

378B           San Mateo County                     7100-000                  NA                 0.00             0.00            0.00


               SCOTTSDALE 101
15GEL2         ASSOCIATES, LLC                      7100-000            76,707.20         690,325.59      690,325.59              0.00


               SCOTTSDALE 101
334-2          ASSOCIATES, LLC                      7100-000                  NA                 0.00             0.00            0.00


312            Snagajob com                         7100-000                  NA               487.50           487.50            0.00


441GL          Snohomish County PUD No 1 7100-000                             NA             2,688.13       2,688.13              0.00


               Southern California Gas
101            Company                              7100-000            29,501.75          44,258.06       44,258.06              0.00


               STAN S DISCOUNT
212            ROOTER & P                           7100-000              102.04               102.04           102.04            0.00


               Stanley Borello and Janell R
367-2          Borello et al                        7100-000                  NA          584,815.36      584,815.36              0.00


428GL          Stapley Construction                 7100-000             1,169.30              916.27           916.27            0.00


               STATE BOARD OF
18GEL2         EQUALIZATION                         7100-000                  NA                 0.00             0.00            0.00


               State of Michigan Department
51B            of Treasury                          7100-000                  NA                 0.00             0.00            0.00


               State of Michigan Department
53             of Treasury                          7100-000                  NA                 0.00             0.00            0.00




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                                                                  CLAIMS               CLAIMS
                                                    UNIFORM
                                                                SCHEDULED             ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                               CLAIMS PAID
                                                                 (from Form         (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)                Claim)

418GL          TAVERN SERVICE INC                   7100-000              329.99               329.99           329.99            0.00


277            The Calhoun Family                   7100-000                  NA                 0.00             0.00            0.00


456GL          The Calhoun Family                   7100-000            32,000.00         277,076.52      277,076.52              0.00


               The Tapman SK Sergey
70             Kolesnikov                           7100-000              174.40               174.40           174.40            0.00


               TMP Directional Marketing
384            LLC                                  7100-000                  NA                 0.00             0.00            0.00


               TMP Directional Marketing
389            LLC                                  7100-000                  NA             2,145.38       2,145.38              0.00


               Twin Creek Enterprises Inc
107            dba Pauls Safe & Lock                7100-000                  NA               249.80           249.80            0.00


404GL          UNITED BEVERAGE GAS                  7100-000                67.04               67.04            67.04            0.00


406GL          Valley Pumping Service               7100-000              300.00               300.00           300.00            0.00


409GL          Vortex Industries Inc                7100-000             4,414.01            4,414.01       4,414.01              0.00


435GL          Wade M. Runia                        7100-000                  NA               100.00           100.00            0.00


296            Weingarten Realty Investors          7100-000            17,042.52              794.95           794.95            0.00


445GL          Weston Herzog LLP                    7100-000                  NA             3,168.39             0.00            0.00


354            White Apron Inc                      7100-000            13,831.00          13,831.00       13,831.00              0.00


362            Zanios Foods Inc                     7100-000             8,241.92            1,442.77       1,442.77              0.00




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                                                                  CLAIMS              CLAIMS
                                                    UNIFORM
                                                                SCHEDULED            ASSERTED           CLAIMS
CLAIM NO.                CLAIMANT                    TRAN.                                                               CLAIMS PAID
                                                                 (from Form        (from Proofs of     ALLOWED
                                                     CODE
                                                                     6F)               Claim)

466GL          3Wire                                7200-000            1,506.06            1,988.48          1,988.48            0.00


16GEL          CURTIS GAINES                        7200-000                NA              1,000.00          1,000.00            0.00


               NEVADA DEPARTMENT
19GEL2         OF TAXATION                          7200-000            1,402.71              334.10            334.10            0.00


470GL2         NM Taxation & Revenue                7200-000             197.80             2,455.74          2,455.74            0.00

TOTAL GENERAL UNSECURED                                         $ 10,197,779.30    $ 28,165,499.08     $ 29,884,565.71           $ 0.00
CLAIMS




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                                                    Case 09-10171-KJC          Doc 39         Filed 06/15/17            Page 82 of 131
                                                                                FORM 1
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                             ASSET CASES
                                                                                                                                                                                              Exhibit 8
Case No:             09-10171                       KJC    Judge:        Kevin J. Carey                             Trustee Name:                      George L. Miller
Case Name:           GRA ENTERPRISES LIQUIDATION INC                                                                Date Filed (f) or Converted (c):   04/30/2010 (c)
                                                                                                                    341(a) Meeting Date:               07/13/2010
For Period Ending:   05/15/2017                                                                                     Claims Bar Date:                   10/12/2010


                                  1                                     2                           3                            4                          5                             6

                         Asset Description                            Petition/               Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)               Unscheduled           (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                      Values               Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                              Assets
                                                                                             and Other Costs)

  1. REAL PROPERTY - 7925 GREENBACK LANE, CITRUS                                  0.00                       0.00                                                       0.00                        FA
     HEIGHTS, CA 9561

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
  2. REAL PROPERTY - 1411 156TH N.E., BELLEVUE, WA                                0.00                       0.00                                                       0.00                        FA
     98007

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
  3. REAL PROPERTY - 3195 NO. MAIN STREET, PLEASANT                               0.00                       0.00                                                       0.00                        FA
     HILL, CA 9452

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
  4. REAL PROPERTY - 300 TUDOR ROAD, ANCHORAGE, AK                                0.00                       0.00                                                       0.00                        FA
     99503

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
  5. REAL PROPERTY - 10021 METRI PKWAY E., PHOENIX AZ                             0.00                       0.00                                                       0.00                        FA
     85051

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
  6. REAL PROPERTY - 3030 EL CAMINO REAL, TUSTIN, CA                              0.00                       0.00                                                       0.00                        FA
     92782

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
  7. REAL PROPERTY - 275 RANCH DRIVE, MILPITAS CA                                 0.00                       0.00                                                       0.00                        FA
     95035

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
  8. REAL PROPERTY - 27735 YNEZ ROAD, TEMECULA CA                                 0.00                       0.00                                                       0.00                        FA
     92591

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
  9. REAL PROPERTY - 15500 WHITTIER BLVD, WHITTIER CA                             0.00                       0.00                                                       0.00                        FA
     90602

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.



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                                                                                FORM 1
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                             ASSET CASES
                                                                                                                                                                                              Exhibit 8
Case No:             09-10171                       KJC    Judge:        Kevin J. Carey                             Trustee Name:                      George L. Miller
Case Name:           GRA ENTERPRISES LIQUIDATION INC                                                                Date Filed (f) or Converted (c):   04/30/2010 (c)
                                                                                                                    341(a) Meeting Date:               07/13/2010
For Period Ending:   05/15/2017                                                                                     Claims Bar Date:                   10/12/2010


                                  1                                     2                           3                            4                          5                             6

                         Asset Description                            Petition/               Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)               Unscheduled           (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                      Values               Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                              Assets
                                                                                             and Other Costs)

 10. REAL PROPERTY - 27007 MCBEAN PARKWAY, WHITTIER                               0.00                       0.00                                                       0.00                        FA
     CA 90602

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 11. REAL PROPERTY - 2770 W. CHANDLER BLVD,                                       0.00                       0.00                                                       0.00                        FA
     CHANDLER AZ 85224

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 12. CASH                                                                         0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 13. BANK ACCOUNT - WELLS FARGO, ACCT NOS. 8966, 2402,                            0.00                       0.00                                                       0.00                        FA
     5658, 7117

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 14. BANK ACCOUNT - FIRST HAWAIIAN, ACCT #5336                                    0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 15. INSURANCE POLICIES                                                           0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 16. INTEREST IN PARTNERSHIPS                                                     0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 17. ACCOUNTS RECEIVABLE                                                    974,695.73                  81,753.56                                                81,753.56                          FA

     ASSET SUBSTANTIALLY ADMINISTERED DURING
     CHAPTER 11.
 18. PATENTS                                                                      0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 19. LICENSES                                                                75,000.00                  75,000.00                                               117,000.00                          FA

     SUBSTANTIALLY ADMINISTERED DURING CHAPTER 11.




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                                                        Case 09-10171-KJC                  Doc 39         Filed 06/15/17             Page 84 of 131
                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              09-10171                         KJC            Judge:        Kevin J. Carey                               Trustee Name:                      George L. Miller
Case Name:            GRA ENTERPRISES LIQUIDATION INC                                                                            Date Filed (f) or Converted (c):   04/30/2010 (c)
                                                                                                                                 341(a) Meeting Date:               07/13/2010
For Period Ending:    05/15/2017                                                                                                 Claims Bar Date:                   10/12/2010


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 20. OFFICE EQUIPMENT                                                                          0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 21. MACHINERY AND SUPPLIES                                                                    0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 22. INVENTORY                                                                                 0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 23. OTHER PERSONAL PROPERTY                                                                   0.00                       0.00                                                       0.00                        FA

     ASSET FULLY ADMINISTERED DURING CHAPTER 11.
 24. PREFERENCES AND FRAUDULENT CONVEYANCE (u)                                           18,874.89                   18,874.89                                                 66,742.39                         FA
 25. INVESTMENT IN TRADE ASSOCIATION (u)                                                  5,388.89                    5,388.89                                                       0.00                        FA
 26. Bank Account - DIP Bank Account #0589 (u)                                          441,694.32                  441,694.32                                                441,694.32                         FA
 27. Post-Petition Interest Deposits earned in 09-10170 (u)                                  178.49                    178.49                                                     178.49                         FA
INT. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                        0.81                        FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $1,515,832.32                $622,890.15                                                 $707,369.57                       $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




  Initial Projected Date of Final Report (TFR): 05/31/2013            Current Projected Date of Final Report (TFR): 08/31/2014




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                                                       Case 09-10171-KJC               Doc 39  Filed 06/15/17
                                                                                            FORM 2
                                                                                                                                Page 85 of 131
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX9763
                                                                                                                                          DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                             Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   11/05/10            19         ABC ESCROW                                PROCEEDS FROM SALE OF                                 1129-000              $10,000.00                                $10,000.00
                                  12304 SANTA MONICA BLVD., SUITE           LIQUOR LICENSE #47-53384
                                  100                                       PURSUANT TO COURT
                                  LOS ANGELES CA 90025                      ORDER DATED 6/12/2009
                                                                            DOCKET #391
   11/30/10            INT        Union Bank of California                  Interest Rate 0.050                                   1270-000                    $0.29                               $10,000.29

   12/31/10            INT        Union Bank of California                  Interest Rate 0.050                                   1270-000                    $0.40                               $10,000.69

   01/31/11            INT        Union Bank of California                  Interest Rate 0.050                                   1270-000                    $0.12                               $10,000.81

   02/02/11           1001        INTERNATIONAL SURETIES                    BLANKET BOND FROM                                     2300-000                                         $9.86            $9,990.95
                                  701 POYDRAS STREET                        01/01/2011 THRU 01/01/2012
                                  SUITE 420                                 BOND #016026389
                                  NEW ORLEANS, LA 70139
   09/26/11                       Union Bank of California                  BANK SERVICES FEE (CHK)                               2600-000                                        $22.12            $9,968.83

   10/25/11                       Union Bank of California                  BANK SERVICES FEE (CHK)                               2600-000                                        $22.12            $9,946.71

   11/25/11                       Union Bank of California                  BANK SERVICES FEE (CHK)                               2600-000                                        $22.12            $9,924.59

   12/15/11                       Union Bank of California                  Bank Service Fee                                      2600-000                                        $11.23            $9,913.36

   12/15/11                       Transfer to Acct# XXXXXX0124              Transfer of Funds                                     9999-000                                    $9,913.36                 $0.00



                                                                                                            COLUMN TOTALS                               $10,000.81           $10,000.81
                                                                                                                  Less: Bank Transfers/CD's                   $0.00           $9,913.36
                                                                                                            Subtotal                                    $10,000.81                $87.45
                                                                                                                  Less: Payments to Debtors                   $0.00                $0.00
                                                                                                            Net                                         $10,000.81                $87.45




                                                                                   Page Subtotals:                                                      $10,000.81           $10,000.81
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                                                       Case 09-10171-KJC               Doc 39  Filed 06/15/17
                                                                                            FORM 2
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                           Trustee Name: George L. Miller                                           Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX1214
                                                                                                                                          DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                             Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                  5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                          ($)
   03/07/13                       Transfer from Acct# XXXXXX0124            Transfer of Funds                                    9999-000               $46,027.03                               $46,027.03

   04/01/13            19         ABS ESCROW TRUST ACCOUNT                  SALE OF LIQUOR LICENSE                               1129-000               $10,000.00                               $56,027.03
                                  o/b/o ACTION INVESTMENT GROUP             PROPERTY: 2605 W MARCH
                                                                            LANE, STOCKTON, CA
   04/01/13            19         ABS ESCROW TRUST ACCOUNT                  SALE OF LIQUOR LICENSE                               1129-000               $55,000.00                              $111,027.03
                                  o/b/o ELITE INTERTAINMENT GROUP           PROPERTY: 500 N SUNRISE
                                  LLC                                       AVE, ROSEVILLE CA
   04/01/13            19         ABS ESCROW TRUST ACCOUNT                  SALE OF LIQUOR LICENSE                               1129-000               $30,000.00                              $141,027.03
                                  o/b/o TERRY PARKER, INC                   PROPERTY: 17615
                                                                            CASTLETON ST, CITY OF
                                                                            INDUSTRY, CA
   04/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                              2600-000                                        $55.17         $140,971.86

   05/08/13            17         WASHINGTON RESTAURANT                     ACCOUNTS RECEIVABLE -                                1121-000               $76,364.67                              $217,336.53
                                  ASSOCIATION                               V#76100
                                  RETRO RETURN TRUST                        FUNDS TRANSFERRED
                                                                            FROM GRA LIQUIDATION,
                                                                            INC., 09-10170. ORIGINALLY
                                                                            DEPOSITED 06/14/12.
                                                                            2007/2008 FINAL
                                                                            DISTRIBUTION; 2009 FIRST
                                                                            150% MISC FEES
   05/28/13                       Union Bank                                BANK SERVICES FEE (CHK)                              2600-000                                       $198.28         $217,138.25

   06/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                              2600-000                                       $293.70         $216,844.55

   07/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                              2600-000                                       $312.24         $216,532.31

   08/26/13                       Union Bank                                BANK SERVICES FEE (CHK)                              2600-000                                       $322.19         $216,210.12

   09/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                              2600-000                                       $321.74         $215,888.38

   10/25/13                       Union Bank                                BANK SERVICES FEE (CHK)                              2600-000                                       $310.89         $215,577.49

   11/25/13                       Union Bank                                Bank Service Fee under 11                            2600-000                                       $320.77         $215,256.72
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)

                                                                                   Page Subtotals:                                                   $217,391.70             $2,134.98
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                                                       Case 09-10171-KJC               Doc 39  Filed 06/15/17
                                                                                            FORM 2
                                                                                                                                    Page 87 of 131
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                               Trustee Name: George L. Miller                                       Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                             Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                              Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                      5               6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.   Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                      ($)
   12/26/13                       Union Bank                                Bank Service Fee under 11                                2600-000                                   $309.98         $214,946.74
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/27/14                       Union Bank                                Bank Service Fee under 11                                2600-000                                   $319.85         $214,626.89
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/06/14          600001       INTERNATIONAL SURETIES, LTD.              2014 Blanket Bond                                        2300-000                                   $240.41         $214,386.48
                                  701 POYDRAS ST STE 420                    #016026389 for the Period
                                  NEW ORLEANS LA 70139                      01/01/14 to 01/01/15

   02/18/14          600002       MILLER COFFEY TATE LLP                    THIRD INTERIM FEE AND                                                                           $32,958.14          $181,428.34
                                  1628 JFK Blvd., Suite 950                 EXPENSE APPLICATION
                                  Philadelphia, PA 19103                    PURSUANT TO COURT
                                                                            ORDER DATED 02/18/14 [D.I.
                                                                            982]
                                  MILLER COFFEY TATE LLP                    EXPENSES                                   ($354.64)     3320-000

                                  MILLER COFFEY TATE LLP                    FEES                                     ($32,603.50)    3310-000

   02/25/14                       Union Bank                                Bank Service Fee under 11                                2600-000                                   $319.40         $181,108.94
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/25/14                       Union Bank                                Bank Service Fee under 11                                2600-000                                   $270.50         $180,838.44
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/25/14                       Union Bank                                Bank Service Fee under 11                                2600-000                                   $269.09         $180,569.35
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/12/14                       GRA Liquidation, Inc.                     Transfer Funds from GRA                                                    $191,903.09                              $372,472.44
                                                                            Liquidation, Inc. to GRA
                                                                            Enterprises Liquidation, Inc.
                                                                            Pursuant to Court Order dated
                                                                            02/14/2014 [D.I. 980]
                                                                            Gross Receipts                           $489,740.31

                                  CIARDI CIARDI & ASTIN PC                  Legal Expenses (Transferred              ($14,484.44)    3220-000
                                  PO Box 2088                               from 09-10170)
                                  Wilmington, DE 19899-2088



                                                                                   Page Subtotals:                                                     $191,903.09          $34,687.37
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                                Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                               Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                             DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                  6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                 Uniform Tran.   Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                         ($)
                                  CIARDI CIARDI & ASTIN PC                  Legal Fees (Transferred from           ($124,050.00)      3210-000
                                  PO Box 2088                               09-10170)
                                  Wilmington, DE 19899-2088
                                  MILLER COFFEY TATE LLP                    Accountant Expenses                        ($1,230.32)    3320-000
                                  1628 JFK Blvd., Suite 950                 (Transferred from 09-10170)
                                  Philadelphia, PA 19103
                                  MILLER COFFEY TATE LLP                    Accountant Fees (Transferred           ($146,737.50)      3310-000
                                  1628 JFK Blvd., Suite 950                 from 09-10170)
                                  Philadelphia, PA 19103
                                  International Surities                    Bond Payments (Transferred                 ($1,497.74)    2300-000
                                                                            from 09-10170)
                                                                            Bank Fees (Transferred from                ($9,837.22)    2600-000
                                                                            09-10170)
                       24                                                   PREFERENCES AND                             $47,867.50    1241-000
                                                                            FRAUDULENT CONVEYANCE
                       26                                                   Bank Account - DIP Bank                    $441,694.32    1229-000
                                                                            Account #0589
                       27                                                   Post-Petition Interest Deposits               $178.49     1270-000
                                                                            earned in 09-10170
   05/27/14                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $260.03         $372,212.41
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/25/14                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $443.13         $371,769.28
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/25/14                       Union Bank                                Bank Service Fee under 11                                 2600-000                                      $535.25         $371,234.03
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/27/15          600003       George L. Miller                          Final distribution representing a                         2100-000                                  $38,618.48          $332,615.55
                                  8 Penn Center                             payment of 100.00 % pursuant
                                  1628 JFK Blvd Ste 950                     to Court Order dated
                                  Philadelphia, PA 19103                    09/17/2015 [D.I. 22]
   10/27/15          600004       George L. Miller                          Final distribution representing a                         2200-000                                      $369.55         $332,246.00
                                  8 Penn Center                             payment of 100.00 % pursuant
                                  1628 JFK Blvd Ste 950                     to Court Order dated
                                  Philadelphia, PA 19103                    09/17/2015 [D.I. 22]



                                                                                   Page Subtotals:                                                               $0.00          $40,226.44
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                                   Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                                 Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX1214
                                                                                                                                                DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                                 Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                                Separate Bond (if applicable):


       1                2                             3                                                 4                                                       5                  6                     7

Transaction Date    Check or                Paid To / Received From                         Description of Transaction                  Uniform Tran.   Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                               Code                                                         ($)
   10/27/15          600005       Clerk of Court                             Final distribution representing a                           2700-000                                  $26,250.00          $305,996.00
                                  United States Bankruptcy Court             payment of 100.00 % pursuant
                                  824 N. Market Street, 3rd Floor            to Court Order dated
                                  Wilmington, DE 19801                       09/17/2015 [D.I. 22]
   10/27/15          600006       Office of the United States Trustee        Final distribution to claim 1                               2950-000                                      $898.37         $305,097.63
                                  District of DelawareJ. Caleb Boggs         representing a payment of
                                  Federal Building844 King Street, Lockbox   100.00 % pursuant to Court
                                  35, Suite 2207                             Order dated 09/17/2015 [D.I.
                                  Wilmington, DE 19801                       22]
   10/27/15          600007       Ciardi Ciardi & Astin PC                   Distribution                                                                                         $112,861.95          $192,235.68
                                  PO Box 2088
                                  Wilmington, DE 19899-2088
                                  Ciardi Ciardi & Astin PC                   Final distribution representing a       ($109,016.50)       3210-000
                                                                             payment of 100.00 % pursuant
                                                                             to Court Order dated
                                                                             09/17/2015 [D.I. 22]
                                  Ciardi Ciardi & Astin PC                   Final distribution representing a            ($3,845.45)    3220-000
                                                                             payment of 100.00 % pursuant
                                                                             to Court Order dated
                                                                             09/17/2015 [D.I. 22]
   10/27/15          600008       Miller Coffey Tate LLP                     Distribution                                                                                          $28,328.12          $163,907.56
                                  1628 JFK Blvd., Suite 950
                                  Philadelphia, PA 19103
                                  Miller Coffey Tate LLP                     Final distribution representing a           ($28,099.50)    3310-000
                                                                             payment of 100.00 % pursuant
                                                                             to Court Order dated
                                                                             09/17/2015 [D.I. 22]
                                  Miller Coffey Tate LLP                     Final distribution representing a             ($228.62)     3320-000
                                                                             payment of 100.00 % pursuant
                                                                             to Court Order dated
                                                                             09/17/2015 [D.I. 22]
   10/27/15          600009       Allan A Sebanc Beverly M Sebanc            Final distribution to claim 285                             6920-000                                  $17,576.83          $146,330.73
                                  Kenneth D McCloskey and Char               representing a payment of
                                  Michael J McQuaid                          100.00 % pursuant to Court
                                  Carr McClellan Ingersoll Thompson &        Order dated 09/17/2015 [D.I.
                                  Horn                                       22]
                                  216 Park Rd
                                  Burlingame CA 94010



                                                                                     Page Subtotals:                                                                $0.00         $185,915.27
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           Case No: 09-10171                                                                                                     Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                                   Bank Name: Union Bank
                                                                                                                       Account Number/CD#: XXXXXX1214
                                                                                                                                                  DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                                   Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                                  Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                           Description of Transaction                  Uniform Tran.   Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                                 Code                                                         ($)
   10/27/15          600010       Stanley Borello and Janell R Borello et al   Final distribution to claim 367                             6920-000                                   $3,473.86          $142,856.87
                                  Heinz Binder Esq                             representing a payment of
                                  Binder & malter LLP                          100.00 % pursuant to Court
                                  2775 Park Ave                                Order dated 09/17/2015 [D.I.
                                  Santa Clara, CA 95050                        22]

   10/27/15          600011       CDW CORPORATION                              Final distribution to claim 2                               6950-000                                   $3,800.34          $139,056.53
                                  C/O RMS BANKRUPTCY RECOVERY                  representing a payment of
                                  SERVICES                                     100.00 % pursuant to Court
                                  PO BOX 5126                                  Order dated 09/17/2015 [D.I.
                                  TIMONIUM, MD 21094                           22]
   10/27/15          600012       TERRIE SULLIVAN                              Final distribution representing a                           6950-000                                      $607.50         $138,449.03
                                  2 Maynard St.                                payment of 100.00 % pursuant
                                  San Francisco, CA 94112-1529                 to Court Order dated
                                                                               09/17/2015 [D.I. 22]
   10/27/15          600013       EMPLOYMENT DEVELOPMENT                       Distribution                                                                                           $5,048.78          $133,400.25
                                  DEPARTMENT
                                  PO BOX 826288
                                  SACRAMENTO, CA 94230-6288
                                  EMPLOYMENT DEVELOPMENT                       CA Personal Income Tax                       ($4,982.78)    5300-000
                                  DEPARTMENT                                   Withholding
                                  EMPLOYMENT DEVELOPMENT                                                                       ($66.00)    6950-000
                                  DEPARTMENT
   10/27/15                       Internal Revenue Service                     Distribution                                                                                          $21,862.44          $111,537.81
                                  PO Box 804522
                                  CINCINNATI, OH 45280-4522
                                  Internal Revenue Service                                                                 ($21,612.44)    5300-000

                                  Internal Revenue Service                                                                   ($250.00)     6950-000

   10/27/15                       Internal Revenue Service                     Distribution                                                                                           $7,933.31          $103,604.50
                                  PO Box 804522
                                  CINCINNATI, OH 45280-4522
                                  Internal Revenue Service                     FICA                                            ($36.88)    5800-000

                                  Internal Revenue Service                     FICA                                            ($36.88)    5800-000

                                  Internal Revenue Service                     FICA                                            ($36.88)    5800-000


                                                                                       Page Subtotals:                                                                $0.00          $42,726.23
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                           Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX1214
                                                                                                                                          DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                             Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                  5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000


                                                                                   Page Subtotals:                                                          $0.00                $0.00
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           Case No: 09-10171                                                                                           Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX1214
                                                                                                                                          DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                             Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                  5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000

                                  Internal Revenue Service                  FICA                                     ($36.88)    5800-000


                                                                                   Page Subtotals:                                                          $0.00                $0.00
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           Case No: 09-10171                                                                                                 Trustee Name: George L. Miller                                         Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                               Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX1214
                                                                                                                                              DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                                Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                      5                  6                    7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                 Uniform Tran.   Deposits ($)        Disbursements ($)   Account/CD Balance
                    Reference                                                                                                             Code                                                        ($)
                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                          ($36.88)     5800-000

                                  Internal Revenue Service                  FICA                                         ($310.19)     5800-000

                                  Internal Revenue Service                                                              ($5,360.08)    5300-000

                                  Internal Revenue Service                                                               ($124.00)     6950-000

   10/27/15                       Internal Revenue Service                  Distribution                                                                                          $2,129.44         $101,475.06
                                  PO Box 804522
                                  CINCINNATI, OH 45280-4522
                                  Internal Revenue Service                  FUTA                                          ($60.00)     6950-000

                                  Internal Revenue Service                  FUTA                                          ($35.68)     5800-000

                                  Internal Revenue Service                  FUTA                                          ($35.68)     5800-000


                                                                                    Page Subtotals:                                                               $0.00           $2,129.44
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           Case No: 09-10171                                                                                           Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX1214
                                                                                                                                          DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                             Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                  5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

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                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

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                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000


                                                                                   Page Subtotals:                                                          $0.00                $0.00
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           Case No: 09-10171                                                                                           Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                          Bank Name: Union Bank
                                                                                                                 Account Number/CD#: XXXXXX1214
                                                                                                                                          DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                             Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                  5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

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                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                     ($35.68)    5800-000


                                                                                   Page Subtotals:                                                          $0.00                $0.00
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           Case No: 09-10171                                                                                              Trustee Name: George L. Miller                                         Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                             Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX1214
                                                                                                                                             DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                                Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                   5                  6                    7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                          Code                                                        ($)
                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

                                  Internal Revenue Service                  FUTA                                        ($35.68)    5800-000

   10/27/15                       Internal Revenue Service                  Distribution                                                                                       $1,854.75          $99,620.31
                                  PO Box 804522
                                  CINCINNATI, OH 45280-4522
                                  Internal Revenue Service                  Medicare                                    ($14.50)    6950-000

                                  Internal Revenue Service                  Medicare                                    ($72.55)    5800-000

                                  Internal Revenue Service                  Medicare                                     ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                     ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                     ($8.62)    5800-000


                                                                                    Page Subtotals:                                                            $0.00           $1,854.75
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                          Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                           Separate Bond (if applicable):


       1                2                             3                                             4                                                  5                  6                     7

Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ($)
                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000


                                                                                  Page Subtotals:                                                          $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                          Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ($)
                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                 ($8.62)    5800-000


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           Case No: 09-10171                                                                                                Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                              Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                             DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction                 Uniform Tran.   Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                         ($)
                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                  Medicare                                       ($8.62)    5800-000

                                  Internal Revenue Service                                                             ($1,253.24)    5300-000

                                  Internal Revenue Service                                                               ($14.50)     6950-000

   10/27/15          600014       Joel Urias                                Final distribution to claim 460                           5300-000                                   $7,374.82           $92,245.49
                                  C/O Dal Bon & Margain                     representing a payment of
                                  28 N 1st St Ste 210                       100.00 % pursuant to Court
                                  SAN JOSE, CA 95113                        Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600015       Daniel Abundis                            Final distribution representing a                         5300-000                                      $299.42          $91,946.07
                                  26063 Cascade St.                         payment of 100.00 % pursuant
                                  Hayward, CA 94544                         to Court Order dated
                                                                            09/17/2015 [D.I. 22]




                                                                                    Page Subtotals:                                                              $0.00           $7,674.24
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   10/27/15          600016       CARLOS L CARRASCO                         Final distribution representing a                      5300-000                                      $299.42          $91,646.65
                                  7524 Rudsdale St.                         payment of 100.00 % pursuant
                                  Oakland, CA 94621                         to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600017       JOSE CHOW                                 Final distribution representing a                      5300-000                                      $299.42          $91,347.23
                                  1791 43rd Ave.                            payment of 100.00 % pursuant
                                  San Francisco, CA 94122                   to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600018       ANNA ELRAKIB                              Final distribution representing a                      5300-000                                      $299.42          $91,047.81
                                  527 Beech St.                             payment of 100.00 % pursuant
                                  Redwood City, CA 94063-2311               to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600019       VICTOR FUENTES                            Final distribution representing a                      5300-000                                      $299.42          $90,748.39
                                  80 29th Ave.                              payment of 100.00 % pursuant
                                  San Mateo CA, 94403-2721                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600020       ASHLEY GOMES                              Final distribution representing a                      5300-000                                      $299.42          $90,448.97
                                  812 Antoinette Lane, Apt. I               payment of 100.00 % pursuant
                                  South San Francisco, CA 94080             to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600021       JOSEPH GONZALEZ                           Final distribution representing a                      5300-000                                      $299.42          $90,149.55
                                  1836 Maxine Ave.                          payment of 100.00 % pursuant
                                  San Mateo, CA 94401                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600022       NANCY L GONZALEZ                          Final distribution representing a                      5300-000                                      $299.42          $89,850.13
                                  1836 Maxine Ave.                          payment of 100.00 % pursuant
                                  San Mateo, CA 94401                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600023       INDRA R HADISURJA                         Final distribution representing a                      5300-000                                      $299.42          $89,550.71
                                  1335 Sevier Ave.                          payment of 100.00 % pursuant
                                  Menlo Park, CA 94025                      to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600024       KATHERINE HANLON                          Final distribution representing a                      5300-000                                      $299.42          $89,251.29
                                  2141 Fruitdale Ave.                       payment of 100.00 % pursuant
                                  Apt. 2                                    to Court Order dated
                                  San Jose, CA 95128                        09/17/2015 [D.I. 22]




                                                                                   Page Subtotals:                                                            $0.00           $2,694.78
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   10/27/15          600025       MARK T MENDOZA                            Final distribution representing a                      5300-000                                      $299.42          $88,951.87
                                  1126 Cherry Ave., 35                      payment of 100.00 % pursuant
                                  San Bruno, CA 94066-2336                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600026       BONNIE MOEN                               Final distribution representing a                      5300-000                                      $299.42          $88,652.45
                                  3609 Fernwood St.                         payment of 100.00 % pursuant
                                  San Mateo, CA 94403-4138                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600027       ARTURO MORA                               Final distribution representing a                      5300-000                                      $299.42          $88,353.03
                                  300 Elmhurst St., Apt. 20                 payment of 100.00 % pursuant
                                  Hayward, CA 94544-1310                    to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600028       BRANDEE A MORRIS                          Final distribution representing a                      5300-000                                      $299.42          $88,053.61
                                  1235 Holly Street, #3                     payment of 100.00 % pursuant
                                  San Carlos, CA 94070                      to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600029       CANDACE MORRIS                            Final distribution representing a                      5300-000                                      $299.42          $87,754.19
                                  2421 W 227th St., #27                     payment of 100.00 % pursuant
                                  Torrance, CA 90501                        to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600030       TRACIE L PELZL                            Final distribution representing a                      5300-000                                      $299.42          $87,454.77
                                  115 South Magnolia Ave.                   payment of 100.00 % pursuant
                                  South San Francisco, CA 94080             to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600031       EVERARDO B SANDOVAL                       Final distribution representing a                      5300-000                                      $299.42          $87,155.35
                                  406 Rogell Ct., #4                        payment of 100.00 % pursuant
                                  San Mateo, CA 94401                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600032       TERRIE SULLIVAN                           Final distribution representing a                      5300-000                                      $299.42          $86,855.93
                                  811 S. Lytle St., Apt. 502                payment of 100.00 % pursuant
                                  Chicago, IL 60607                         to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600033       RICARDO VALENCIL                          Final distribution representing a                      5300-000                                      $299.42          $86,556.51
                                  4333 Beresford St., Apt. 3                payment of 100.00 % pursuant
                                  San Mateo, CA 94403-5152                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]




                                                                                   Page Subtotals:                                                            $0.00           $2,694.78
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           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   10/27/15          600034       KATHLEEN WILSON                           Final distribution representing a                      5300-000                                      $299.42          $86,257.09
                                  9 McKinley Dr.                            payment of 100.00 % pursuant
                                  Delmar, NY 12054-2609                     to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600035       ELAINE YOUNG                              Final distribution representing a                      5300-000                                      $299.42          $85,957.67
                                  333 Port Royal Avenue                     payment of 100.00 % pursuant
                                  Foster City, CA 94404                     to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600036       RICHARD DICKOW                            Final distribution representing a                      5300-000                                      $299.42          $85,658.25
                                  2514 Avenel Ave. SW                       payment of 100.00 % pursuant
                                  Roanoke, VA 24015                         to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600037       CHRISTOPHER S MILLER                      Final distribution representing a                      5300-000                                      $299.42          $85,358.83
                                  50 Los Olivos Ave.                        payment of 100.00 % pursuant
                                  Daly City, CA 94014                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600038       SAMANTHA HOOBYAR                          Final distribution representing a                      5300-000                                      $299.42          $85,059.41
                                  PO Box 312                                payment of 100.00 % pursuant
                                  Solvang, CA 93464-0312                    to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600039       JOSE L. DELGADILLO                        Final distribution representing a                      5300-000                                      $299.42          $84,759.99
                                  26518 Underwood Ave.                      payment of 100.00 % pursuant
                                  Hayward, CA 94544-3126                    to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600040       KEVIN ROSAS                               Final distribution representing a                      5300-000                                      $299.42          $84,460.57
                                  851 Norht Amphlett #307                   payment of 100.00 % pursuant
                                  San Mateo, CA 94401                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600041       RODRIGO PICON                             Final distribution representing a                      5300-000                                      $299.42          $84,161.15
                                  532 East Hillsdale Ct. Apt. 1             payment of 100.00 % pursuant
                                  Summerville, CA 94403                     to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600042       CLAYTON RAMOS                             Final distribution representing a                      5300-000                                      $299.42          $83,861.73
                                  7 Avocet Dr. Apt. 105                     payment of 100.00 % pursuant
                                  Redwood City, CA 94065                    to Court Order dated
                                                                            09/17/2015 [D.I. 22]




                                                                                   Page Subtotals:                                                            $0.00           $2,694.78
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   10/27/15          600043       LUIS MARTINEZ                             Final distribution representing a                      5300-000                                      $299.42          $83,562.31
                                  15787 Via Arroyo                          payment of 100.00 % pursuant
                                  San Lorenzo, CA 94580                     to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600044       ADAN RUIZ-QUEZADA                         Final distribution representing a                      5300-000                                      $299.42          $83,262.89
                                  251 W. Harder Rd. Apt. 2                  payment of 100.00 % pursuant
                                  Hayward, CA 94544                         to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600045       CRISTHIA CASTRO-CASTILLO                  Final distribution representing a                      5300-000                                      $299.42          $82,963.47
                                  168 37th Ave. APT F                       payment of 100.00 % pursuant
                                  San Mateo, CA 94403                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600046       JULIO A ARELLANO                          Final distribution representing a                      5300-000                                      $299.42          $82,664.05
                                  1200 Monte Diablo Ave. Apt. 108           payment of 100.00 % pursuant
                                  San Mateo, CA 94401-1371                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600047       CARLY E BOETTIGHEIMER                     Final distribution representing a                      5300-000                                      $299.42          $82,364.63
                                  E. 1047 Yosemite Drive                    payment of 100.00 % pursuant
                                  Pacifica, CA 94044-3745                   to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600048       SONIA L CHALFONT                          Final distribution representing a                      5300-000                                      $299.42          $82,065.21
                                  28980 Fordham St.                         payment of 100.00 % pursuant
                                  East Palo Alto, CA 94303-1210             to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600049       FRANCISCO CUEVAS                          Final distribution representing a                      5300-000                                      $299.42          $81,765.79
                                  1303 93rd Ave.                            payment of 100.00 % pursuant
                                  Oakland, CA 94603-1413                    to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600050       KRISTY DIEP                               Final distribution representing a                      5300-000                                      $299.42          $81,466.37
                                  1212 Oxton Dr.                            payment of 100.00 % pursuant
                                  San Jose, CA 95121-2246                   to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600051       FABIAN ESPINOZA                           Final distribution representing a                      5300-000                                      $299.42          $81,166.95
                                  98 Highland Ave.                          payment of 100.00 % pursuant
                                  South San Francisco, CA 94080             to Court Order dated
                                                                            09/17/2015 [D.I. 22]




                                                                                   Page Subtotals:                                                            $0.00           $2,694.78
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   10/27/15          600052       SERGIO FLORES                             Final distribution representing a                      5300-000                                      $299.42          $80,867.53
                                  891 San Aleso Ave. Apt. 2                 payment of 100.00 % pursuant
                                  Sunnyvalle, CA 94085-1435                 to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600053       JOSE ANTONIO GARCIA                       Final distribution representing a                      5300-000                                      $299.42          $80,568.11
                                  218 Forest View Dr.                       payment of 100.00 % pursuant
                                  South San Francisco, CA 94080-1310        to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600054       JOSE L GARCIA                             Final distribution representing a                      5300-000                                      $299.42          $80,268.69
                                  219 Forest View Dr.                       payment of 100.00 % pursuant
                                  South San Francisco, CA 94080-1311        to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600055       OSAMA SAM GHARIB                          Final distribution representing a                      5300-000                                      $299.42          $79,969.27
                                  1730 Sequoia Ave. Apt. 1                  payment of 100.00 % pursuant
                                  Burlingame, CA 94010-5443                 to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600056       KRISTEN GOTTULA                           Final distribution representing a                      5300-000                                      $299.42          $79,669.85
                                  1046 Hall St.                             payment of 100.00 % pursuant
                                  San Carlos, CA 94070                      to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600057       DANIEL HERNANDEZ                          Final distribution representing a                      5300-000                                      $299.42          $79,370.43
                                  121 Oak Ave. 3                            payment of 100.00 % pursuant
                                  Redwood City CA 94061-2308                to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600058       OSCAR R HERNANDEZ                         Final distribution representing a                      5300-000                                      $299.42          $79,071.01
                                  110 Elodie Way Apt. 10                    payment of 100.00 % pursuant
                                  San Jose, CA 95116-1858                   to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600059       CESAR HORTADO                             Final distribution representing a                      5300-000                                      $299.42          $78,771.59
                                  4250 North Ln.                            payment of 100.00 % pursuant
                                  Del Mar, CA 92014                         to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600060       BARBARA A LANN                            Final distribution representing a                      5300-000                                      $299.42          $78,472.17
                                  9245 Laguna Springs Way                   payment of 100.00 % pursuant
                                  Elk Grove, CA 95758                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]




                                                                                   Page Subtotals:                                                            $0.00           $2,694.78
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   10/27/15          600061       BRIAN LARSON                              Final distribution representing a                      5300-000                                      $299.42          $78,172.75
                                  2000 Crystal Springs Rd.                  payment of 100.00 % pursuant
                                  San Bruno, CA 94066                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600062       JOAQUIN A LOPEZ                           Final distribution representing a                      5300-000                                      $299.42          $77,873.33
                                  1171 Compass Lane Apt. 106                payment of 100.00 % pursuant
                                  Foster City, CA 94404-3419                to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600063       DAVID LYONS                               Final distribution representing a                      5300-000                                      $299.42          $77,573.91
                                  303 Magnolia Dr.                          payment of 100.00 % pursuant
                                  Laguna Beach, CA 92651-1720               to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600064       ISMAEL MENDOZA                            Final distribution representing a                      5300-000                                      $299.42          $77,274.49
                                  P.O. Box 5050                             payment of 100.00 % pursuant
                                  San Mateo, CA 94402-0050                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600065       SILVESTRE MORALES ALVINO                  Final distribution representing a                      5300-000                                      $299.42          $76,975.07
                                  3170 Casa De Campo Apt. 4                 payment of 100.00 % pursuant
                                  San Mateo, CA 94403-2181                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600066       JONATHAN NOGALES                          Final distribution representing a                      5300-000                                      $299.42          $76,675.65
                                  852 N. 16th St.                           payment of 100.00 % pursuant
                                  Montebello, CA 90640-2402                 to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600067       WALTER ROJAS                              Final distribution representing a                      5300-000                                      $299.42          $76,376.23
                                  3233 Casa De Campo                        payment of 100.00 % pursuant
                                  San Mateo, CA 94403                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600068       Jose Ruiz                                 Final distribution representing a                      5300-000                                      $299.42          $76,076.81
                                  833 East Longview Avenue                  payment of 100.00 % pursuant
                                  Stockton, CA 95207                        to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600069       JOHN T TODD                               Final distribution representing a                      5300-000                                      $299.42          $75,777.39
                                  3722 Wilshire Ave                         payment of 100.00 % pursuant
                                  San Mateo, CA 94403                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]




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           Case No: 09-10171                                                                                               Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                             Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX1214
                                                                                                                                             DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                                Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   10/27/15          600070       MONSERRAT VARGAS                          Final distribution representing a                        5300-000                                      $299.42          $75,477.97
                                  24559 Amador St, APT 27                   payment of 100.00 % pursuant
                                  Hayward, CA 94544                         to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600071       LUIS VIDAL                                Final distribution representing a                        5300-000                                      $299.42          $75,178.55
                                  98 Highland Ave.                          payment of 100.00 % pursuant
                                  South San Francisco, CA 94080-1641        to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600072       ANTHONY WHITESIDE                         Final distribution representing a                        5300-000                                      $299.42          $74,879.13
                                  568 Simon St.                             payment of 100.00 % pursuant
                                  Hayward, CA 94541-3926                    to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/27/15          600073       OUTTEN & GOLDEN LLP                       Distribution                                             5300-000                                   $5,000.18           $69,878.95
                                  ATTN: RENE S. ROUPINIAN, ESQ.
                                  3 PARK AVENUE, 29TH FLOOR
                                  NEW YORK, NEW YORK 10016
   10/27/15          600074       OUTTEN & GOLDEN LLP                       Distribution                                                                                       $23,499.86           $46,379.09
                                  ATTN: RENE S. ROUPINIAN, ESQ.
                                  3 PARK AVENUE, 29TH FLOOR
                                  NEW YORK, NEW YORK 10016
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                       ($405.17)    5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                       ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                       ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                       ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                       ($405.17)    5300-000
                                                                            Counsel Fees



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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                           Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                           Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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           Case No: 09-10171                                                                                           Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
                                                                            Counsel Fees
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   ($405.17)    5300-000
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                               Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                              Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX1214
                                                                                                                                              DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                                 Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                                Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   10/27/15          600075       Erma Wray                                 Final distribution to claim 72                           5600-000                                       $11.24          $46,367.85
                                  4615 ROUTT ST                             representing a payment of
                                  WHEAT RIDGE, CO 80033                     100.00 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600076       Idaho State Tax Commission                Final distribution to claim 7                            5800-000                                      $260.86          $46,106.99
                                  Bankruptcy Unit                           representing a payment of
                                  PO Box 36                                 45.69 % pursuant to Court
                                  Boise, ID 83722                           Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600077       MARICOPA COUNTY TREASURER                 Final distribution to claim 9                            5800-000                                  $11,800.70           $34,306.29
                                  MADELEINE C WANSLEE                       representing a payment of
                                  GUST ROSENFELD PLC                        45.69 % pursuant to Court
                                  201 E WASHINGTON STE 800                  Order dated 09/17/2015 [D.I.
                                  PHOENIX, AZ 85004                         22]
   10/27/15          600078       Clark County Treasurer                    Final distribution to claim 13                           5800-000                                      $776.13          $33,530.16
                                  PO Box 5000                               representing a payment of
                                  Vancouver, WA 98666                       45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
                                                                            VOID on 11/12/15 - Claim
                                                                            previously satisfied
   10/27/15          600079       NEVADA DEPARTMENT OF TAXATION             Final distribution to claim 19                           5800-000                                      $931.56          $32,598.60
                                  ATTN BANKRUPTCY SECTION                   representing a payment of
                                  555 E WASHINGTON AVE NO 1300              45.69 % pursuant to Court
                                  LAS VEGAS, NV 89101                       Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600080       Arizona Department of Revenue             Final distribution to claim 20                           5800-000                                   $8,663.17           $23,935.43
                                  Tax, Bankruptcy & Collection Section      representing a payment of
                                  1275 West Washington Ave.                 45.69 % pursuant to Court
                                  Phoenix, AZ 85007                         Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600081       SPOKANE COUNTY TREASURER                  Final distribution to claim 74                           5800-000                                   $2,677.03           $21,258.40
                                  PO BOX 199                                representing a payment of
                                  SPOKANE, WA 99210                         45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]




                                                                                   Page Subtotals:                                                              $0.00          $25,120.69
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      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                         ($)
   10/27/15          600082       Pierce County Budget & Finance            Distribution                                                                                       $1,796.01           $19,462.39
                                  615 S 9th St Ste 100                      VOID on 11/16/15 - Claim
                                  Tacoma, WA 98405                          satisfied

                                  Pierce County Budget & Finance            Final distribution to claim 138            ($992.72)    5800-000
                                                                            representing a payment of
                                                                            45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
                                  Pierce County Budget & Finance            Final distribution to claim 139            ($803.29)    5800-000
                                                                            representing a payment of
                                                                            45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600083       City of Los Angeles Office of Finance     Final distribution to claim 248                         5800-000                                   $2,487.17           $16,975.22
                                  Attn Wendy Loo                            representing a payment of
                                  Los Angeles City Attorneys Office         45.69 % pursuant to Court
                                  200 N Main St Ste 920                     Order dated 09/17/2015 [D.I.
                                  Los Angeles, CA 90012                     22]

   10/27/15          600084       Franchise Tax Board                       Final distribution to claim 353                         5800-000                                      $753.68          $16,221.54
                                  Bankruptcy Section MS A340                representing a payment of
                                  PO Box 2952                               45.69 % pursuant to Court
                                  Sacramento, CA 95812-2952                 Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600085       LOS ANGELES COUNTY TREASURER              Final distribution to claim 393                         5800-000                                   $5,918.62           $10,302.92
                                  AND                                       representing a payment of
                                  Tax Collector                             45.69 % pursuant to Court
                                  P. O. Box 54110                           Order dated 09/17/2015 [D.I.
                                  Los Angeles, CA 90051-0110                22]
   10/27/15          600086       ALAMEDA COUNTY TAX COLLECTOR              Final distribution to claim 399                         5800-000                                   $1,370.25             $8,932.67
                                  1221 OAK ST                               representing a payment of
                                  OAKLAND, CA 94612                         45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600087       Yakima County Treasurer                   Final distribution to claim 417                         5800-000                                   $1,190.89             $7,741.78
                                  PO Box 22530                              representing a payment of
                                  YAKIMA, WA 98901                          45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]

                                                                                    Page Subtotals:                                                            $0.00          $13,516.62
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   10/27/15          600088       Arapahoe County Treasurer                 Final distribution to claim 440                        5800-000                                   $3,581.71             $4,160.07
                                  5334 S. Prince Street                     representing a payment of
                                  Littleton, CO 80166                       45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600089       County of San Bernadino                   Final distribution to claim 448                        5800-000                                   $1,529.09             $2,630.98
                                  Office of the Tax Collector               representing a payment of
                                  172 W 3rd St                              45.69 % pursuant to Court
                                  San Bernadino, CA 92415                   Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600090       Riverside County Tax Collector            Final distribution to claim 469                        5800-000                                   $1,864.29                $766.69
                                  Attn Ismael O Vargas                      representing a payment of
                                  4080 Lemon St. 4th Floor                  45.69 % pursuant to Court
                                  Riverside, CA 92501                       Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15          600091       NM Taxation & Revenue                     Final distribution to claim 470                        5800-000                                      $574.79               $191.90
                                  PO Box 8575                               representing a payment of
                                  Alburquerque, NM 87198-8575               45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   10/27/15                       Internal Revenue Service                  Final distribution representing a                      5800-000                                      $191.90                 $0.00
                                  PO Box 804522                             payment of 45.69 % pursuant
                                  CINCINNATI, OH 45280-4522                 to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   10/28/15          600074       OUTTEN & GOLDEN LLP                       Distribution Reversal                                                                           ($23,499.86)          $23,499.86
                                  ATTN: RENE S. ROUPINIAN, ESQ.             VOID - Check issued for
                                  3 PARK AVENUE, 29TH FLOOR                 incorrect amount
                                  NEW YORK, NEW YORK 10016
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                      $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                      $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                      $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                      $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                      $405.17     5300-000
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                          Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ($)
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                          Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ($)
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees



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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                          Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                         Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ($)
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
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                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                   $405.17     5300-000
                                                                            Counsel Fees



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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                               Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                              Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX1214
                                                                                                                                              DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                                 Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                                Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                        $405.17     5300-000
                                                                            Counsel Fees
                                  OUTTEN & GOLDEN LLP                       WARN Act Class Action                        $405.17     5300-000
                                                                            Counsel Fees
   10/28/15          600092       OUTTEN & GOLDEN LLP                       Distribution                                             5300-000                                  $12,965.44             $10,534.42
                                  ATTN: RENE S. ROUPINIAN, ESQ.
                                  3 PARK AVENUE, 29TH FLOOR
                                  NEW YORK, NEW YORK 10016
   10/29/15          600093       OUTTEN & GOLDEN LLP                       Distribution                                             5300-000                                       $810.34             $9,724.08
                                  ATTN: RENE S. ROUPINIAN, ESQ.
                                  3 PARK AVENUE, 29TH FLOOR
                                  NEW YORK, NEW YORK 10016
   11/12/15          600078       Clark County Treasurer                    Final distribution to claim 13                           5800-000                                      ($776.13)          $10,500.21
                                  PO Box 5000                               representing a payment of
                                  Vancouver, WA 98666                       45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            VOID - Claim previously
                                                                            satisfied
   11/12/15          600094       OUTTEN & GOLDEN LLP                       Distribution                                             5300-000                                       $405.17           $10,095.04
                                  ATTN: RENE S. ROUPINIAN, ESQ.             Amounts due re: Katherine
                                  3 PARK AVENUE, 29TH FLOOR                 Hanlon disbursement
                                  NEW YORK, NEW YORK 10016
   11/16/15          600082       Pierce County Budget & Finance            Distribution Reversal                                                                              ($1,796.01)            $11,891.05
                                  615 S 9th St Ste 100                      VOID - CLAIM SATISFIED
                                  Tacoma, WA 98405

                                  Pierce County Budget & Finance            Final distribution to claim 138              $992.72     5800-000
                                                                            representing a payment of
                                                                            45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
                                  Pierce County Budget & Finance            Final distribution to claim 139              $803.29     5800-000
                                                                            representing a payment of
                                                                            45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]




                                                                                    Page Subtotals:                                                             $0.00          $11,608.81
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           Case No: 09-10171                                                                                              Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                             Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX1214
                                                                                                                                             DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                                Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
   11/16/15          600095       OUTTEN & GOLDEN LLP                       Distribution                                            5300-000                                       $810.34           $11,080.71
                                  ATTN: RENE S. ROUPINIAN, ESQ.             Whiteside
                                  3 PARK AVENUE, 29TH FLOOR                 Carrasco
                                  NEW YORK, NEW YORK 10016
   11/25/15          600096       OUTTEN & GOLDEN LLP                       Distribution                                            5300-000                                       $810.34           $10,270.37
                                  ATTN: RENE S. ROUPINIAN, ESQ.             Diep
                                  3 PARK AVENUE, 29TH FLOOR                 Gharib
                                  NEW YORK, NEW YORK 10016
   02/02/16          600014       Joel Urias                                Final distribution to claim 460                         5300-000                                  ($7,374.82)            $17,645.19
                                  C/O Dal Bon & Margain                     representing a payment of
                                  28 N 1st St Ste 210                       100.00 % pursuant to Court
                                  SAN JOSE, CA 95113                        Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
   02/02/16          600036       RICHARD DICKOW                            Final distribution representing a                       5300-000                                      ($299.42)          $17,944.61
                                  2514 Avenel Ave. SW                       payment of 100.00 % pursuant
                                  Roanoke, VA 24015                         to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600046       JULIO A ARELLANO                          Final distribution representing a                       5300-000                                      ($299.42)          $18,244.03
                                  1200 Monte Diablo Ave. Apt. 108           payment of 100.00 % pursuant
                                  San Mateo, CA 94401-1371                  to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600048       SONIA L CHALFONT                          Final distribution representing a                       5300-000                                      ($299.42)          $18,543.45
                                  28980 Fordham St.                         payment of 100.00 % pursuant
                                  East Palo Alto, CA 94303-1210             to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600049       FRANCISCO CUEVAS                          Final distribution representing a                       5300-000                                      ($299.42)          $18,842.87
                                  1303 93rd Ave.                            payment of 100.00 % pursuant
                                  Oakland, CA 94603-1413                    to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600051       FABIAN ESPINOZA                           Final distribution representing a                       5300-000                                      ($299.42)          $19,142.29
                                  98 Highland Ave.                          payment of 100.00 % pursuant
                                  South San Francisco, CA 94080             to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600052       SERGIO FLORES                             Final distribution representing a                       5300-000                                      ($299.42)          $19,441.71
                                  891 San Aleso Ave. Apt. 2                 payment of 100.00 % pursuant
                                  Sunnyvalle, CA 94085-1435                 to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal




                                                                                    Page Subtotals:                                                            $0.00          ($7,550.66)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   02/02/16          600053       JOSE ANTONIO GARCIA                       Final distribution representing a                      5300-000                                      ($299.42)          $19,741.13
                                  218 Forest View Dr.                       payment of 100.00 % pursuant
                                  South San Francisco, CA 94080-1310        to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600054       JOSE L GARCIA                             Final distribution representing a                      5300-000                                      ($299.42)          $20,040.55
                                  219 Forest View Dr.                       payment of 100.00 % pursuant
                                  South San Francisco, CA 94080-1311        to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600057       DANIEL HERNANDEZ                          Final distribution representing a                      5300-000                                      ($299.42)          $20,339.97
                                  121 Oak Ave. 3                            payment of 100.00 % pursuant
                                  Redwood City CA 94061-2308                to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600059       CESAR HORTADO                             Final distribution representing a                      5300-000                                      ($299.42)          $20,639.39
                                  4250 North Ln.                            payment of 100.00 % pursuant
                                  Del Mar, CA 92014                         to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600060       BARBARA A LANN                            Final distribution representing a                      5300-000                                      ($299.42)          $20,938.81
                                  9245 Laguna Springs Way                   payment of 100.00 % pursuant
                                  Elk Grove, CA 95758                       to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600061       BRIAN LARSON                              Final distribution representing a                      5300-000                                      ($299.42)          $21,238.23
                                  2000 Crystal Springs Rd.                  payment of 100.00 % pursuant
                                  San Bruno, CA 94066                       to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600062       JOAQUIN A LOPEZ                           Final distribution representing a                      5300-000                                      ($299.42)          $21,537.65
                                  1171 Compass Lane Apt. 106                payment of 100.00 % pursuant
                                  Foster City, CA 94404-3419                to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600063       DAVID LYONS                               Final distribution representing a                      5300-000                                      ($299.42)          $21,837.07
                                  303 Magnolia Dr.                          payment of 100.00 % pursuant
                                  Laguna Beach, CA 92651-1720               to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600064       ISMAEL MENDOZA                            Final distribution representing a                      5300-000                                      ($299.42)          $22,136.49
                                  P.O. Box 5050                             payment of 100.00 % pursuant
                                  San Mateo, CA 94402-0050                  to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal




                                                                                   Page Subtotals:                                                            $0.00          ($2,694.78)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                   5                  6                       7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   02/02/16          600065       SILVESTRE MORALES ALVINO                  Final distribution representing a                      5300-000                                      ($299.42)          $22,435.91
                                  3170 Casa De Campo Apt. 4                 payment of 100.00 % pursuant
                                  San Mateo, CA 94403-2181                  to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600066       JONATHAN NOGALES                          Final distribution representing a                      5300-000                                      ($299.42)          $22,735.33
                                  852 N. 16th St.                           payment of 100.00 % pursuant
                                  Montebello, CA 90640-2402                 to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600067       WALTER ROJAS                              Final distribution representing a                      5300-000                                      ($299.42)          $23,034.75
                                  3233 Casa De Campo                        payment of 100.00 % pursuant
                                  San Mateo, CA 94403                       to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600069       JOHN T TODD                               Final distribution representing a                      5300-000                                      ($299.42)          $23,334.17
                                  3722 Wilshire Ave                         payment of 100.00 % pursuant
                                  San Mateo, CA 94403                       to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600070       MONSERRAT VARGAS                          Final distribution representing a                      5300-000                                      ($299.42)          $23,633.59
                                  24559 Amador St, APT 27                   payment of 100.00 % pursuant
                                  Hayward, CA 94544                         to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600071       LUIS VIDAL                                Final distribution representing a                      5300-000                                      ($299.42)          $23,933.01
                                  98 Highland Ave.                          payment of 100.00 % pursuant
                                  South San Francisco, CA 94080-1641        to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   02/02/16          600087       Yakima County Treasurer                   Final distribution to claim 417                        5800-000                                  ($1,190.89)            $25,123.90
                                  PO Box 22530                              representing a payment of
                                  YAKIMA, WA 98901                          45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
   02/09/16          600097       John T. Todd                              Final distribution representing a                      5300-000                                       $299.42           $24,824.48
                                  3722 Wilshire Ave                         payment of 100.00 % pursuant
                                  San Mateo, CA 94403                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   02/09/16          600098       OUTTEN & GOLDEN LLP                       Distribution                                           5300-000                                       $405.17           $24,419.31
                                  ATTN: RENE S. ROUPINIAN, ESQ.             Amounts due re: John T. Todd
                                  3 PARK AVENUE, 29TH FLOOR                 disbursement
                                  NEW YORK, NEW YORK 10016




                                                                                    Page Subtotals:                                                           $0.00          ($2,282.82)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   02/15/16          600099       Barbra A. Lann                            Final distribution representing a                      5300-000                                       $299.42           $24,119.89
                                  9245 Laguna Springs Way                   payment of 100.00 % pursuant
                                  Elk Grove, CA 95758                       to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   02/15/16          600100       OUTTEN & GOLDEN LLP                       Distribution                                           5300-000                                       $405.17           $23,714.72
                                  ATTN: RENE S. ROUPINIAN, ESQ.             Amounts due re: Barbra A.
                                  3 PARK AVENUE, 29TH FLOOR                 Lann disbursement
                                  NEW YORK, NEW YORK 10016
   02/15/16          600101       JULIO A. ARELLANO                         Final distribution representing a                      5300-000                                       $299.42           $23,415.30
                                  1200 Monte Diablo Ave. Apt. 108           payment of 100.00 % pursuant
                                  San Mateo, CA 94401-1371                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   02/15/16          600102       RICHARD DICKOW                            Final distribution representing a                      5300-000                                       $299.42           $23,115.88
                                  2631 Beverly Blvd                         payment of 100.00 % pursuant
                                  Roanoke, VA 24015                         to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   03/22/16          600112       Yakima County Treasurer                   Final distribution to claim 417                        5800-000                                  ($1,253.54)            $24,369.42
                                  PO Box 22530                              representing a payment of
                                  Yakima, WA 98901                          45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Claim Satisfied.
   03/22/16          600103       Idaho State Tax Commission                Additional distribution to claim 7                     5800-000                                       ($13.73)          $24,383.15
                                  Bankruptcy Unit                            representing a payment of
                                  PO Box 36                                 45.69 % pursuant to Court
                                  Boise, ID 83722                           Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600104       MARICOPA COUNTY TREASURER                 Additional distribution to claim 9                     5800-000                                      ($620.88)          $25,004.03
                                  MADELEINE C WANSLEE                        representing a payment of
                                  GUST ROSENFELD PLC                        45.69 % pursuant to Court
                                  201 E WASHINGTON STE 800                  Order dated 09/17/2015 [D.I.
                                  PHOENIX, AZ 85004                         22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount




                                                                                    Page Subtotals:                                                           $0.00              ($584.72)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   03/22/16          600105       NEVADA DEPARTMENT OF TAXATION             Additional distribution to claim                       5800-000                                       ($49.01)          $25,053.04
                                  ATTN BANKRUPTCY SECTION                   19 representing a payment of
                                  555 E WASHINGTON AVE NO 1300              45.69 % pursuant to Court
                                  LAS VEGAS, NV 89101                       Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600106       Arizona Department of Revenue             Additional distribution to claim                       5800-000                                      ($455.81)          $25,508.85
                                  Tax, Bankruptcy & Collection Section      20 representing a payment of
                                  1275 West Washington Ave.                 45.69 % pursuant to Court
                                  Phoenix, AZ 85007                         Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600107       SPOKANE COUNTY TREASURER                  Additional distribution to claim                       5800-000                                      ($140.85)          $25,649.70
                                  PO BOX 199                                74 representing a payment of
                                  SPOKANE, WA 99210                         45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600108       City of Los Angeles Office of Finance     Additional distribution to claim                       5800-000                                      ($130.86)          $25,780.56
                                  Attn Wendy Loo                            248 representing a payment of
                                  Los Angeles City Attorneys Office         45.69 % pursuant to Court
                                  200 N Main St Ste 920                     Order dated 09/17/2015 [D.I.
                                  Los Angeles, CA 90012                     22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600109       Franchise Tax Board                       Additional distribution to claim                       5800-000                                       ($39.65)          $25,820.21
                                  Bankruptcy Section MS A340                353 representing a payment of
                                  PO Box 2952                               45.69 % pursuant to Court
                                  Sacramento, CA 95812-2952                 Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount




                                                                                    Page Subtotals:                                                           $0.00              ($816.18)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                            Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                           Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX1214
                                                                                                                                           DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                              Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   03/22/16          600110       Los Angeles County Treasurer and          Additional distribution to claim                      5800-000                                      ($311.40)          $26,131.61
                                  Tax Collector                             393 representing a payment of
                                  P. O. Box 54110                           45.69 % pursuant to Court
                                  Los Angeles, CA 90051-0110                Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600111       ALAMEDA COUNTY TAX COLLECTOR              Additional distribution to claim                      5800-000                                       ($72.09)          $26,203.70
                                  1221 OAK ST                               399 representing a payment of
                                  OAKLAND, CA 94612                         45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600113       Arapahoe County Treasurer                 Additional distribution to claim                      5800-000                                      ($188.45)          $26,392.15
                                  5334 S. Prince Street                     440 representing a payment of
                                  Littleton, CO 80166                       45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600114       County of San Bernadino                   Additional distribution to claim                      5800-000                                       ($80.45)          $26,472.60
                                  Office of the Tax Collector               448 representing a payment of
                                  172 W 3rd St                              45.69 % pursuant to Court
                                  San Bernadino, CA 92415                   Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16          600115       Riverside County Tax Collector            Additional distribution to claim                      5800-000                                       ($98.09)          $26,570.69
                                  Attn Ismael O Vargas                      469 representing a payment of
                                  4080 Lemon St. 4th Floor                  45.69 % pursuant to Court
                                  Riverside, CA 92501                       Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount




                                                                                   Page Subtotals:                                                           $0.00              ($750.48)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                              Trustee Name: George L. Miller                                           Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)     Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
   03/22/16          600116       NM Taxation & Revenue                     Additional distribution to claim                        5800-000                                      ($30.24)          $26,600.93
                                  PO Box 8575                               470 representing a payment of
                                  Alburquerque, NM 87198-8575               45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22] Reversal
                                                                            Void - Check issued for
                                                                            incorrect amount
   03/22/16                       Internal Revenue Service                  Final distribution representing                                                                       $119.00           $26,481.93
                                  PO Box 804522                             an additional payment of 6.64
                                  CINCINNATI, OH 45280-4522                 % pursuant to Court Order
                                                                            dated 09/17/2015 [D.I. 22]
                                  Internal Revenue Service                  FUTA (Max)                                  ($10.10)    5800-000

                                  Internal Revenue Service                                                             ($108.90)    5800-000

   03/22/16                       Internal Revenue Service                  Final distribution representing                                                                       $158.98           $26,322.95
                                  PO Box 804522                             an additional payment of 6.64
                                  CINCINNATI, OH 45280-4522                 % pursuant to Court Order
                                                                            dated 09/17/2015 [D.I. 22]
                                  Internal Revenue Service                  Medicare                                    ($30.14)    5800-000

                                  Internal Revenue Service                  FICA                                       ($128.84)    5800-000

   03/22/16          600103       Idaho State Tax Commission                Additional distribution to claim 7                      5800-000                                       $13.73           $26,309.22
                                  Bankruptcy Unit                           representing a payment of
                                  PO Box 36                                 45.69 % pursuant to Court
                                  Boise, ID 83722                           Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600104       MARICOPA COUNTY TREASURER                 Additional distribution to claim 9                      5800-000                                      $620.88           $25,688.34
                                  MADELEINE C WANSLEE                       representing a payment of
                                  GUST ROSENFELD PLC                        45.69 % pursuant to Court
                                  201 E WASHINGTON STE 800                  Order dated 09/17/2015 [D.I.
                                  PHOENIX, AZ 85004                         22]
   03/22/16          600105       NEVADA DEPARTMENT OF TAXATION             Additional distribution to claim                        5800-000                                       $49.01           $25,639.33
                                  ATTN BANKRUPTCY SECTION                   19 representing a payment of
                                  555 E WASHINGTON AVE NO 1300              45.69 % pursuant to Court
                                  LAS VEGAS, NV 89101                       Order dated 09/17/2015 [D.I.
                                                                            22]




                                                                                    Page Subtotals:                                                            $0.00              $931.36
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   03/22/16          600106       Arizona Department of Revenue             Additional distribution to claim                       5800-000                                      $455.81          $25,183.52
                                  Tax, Bankruptcy & Collection Section      20 representing a payment of
                                  1275 West Washington Ave.                 45.69 % pursuant to Court
                                  Phoenix, AZ 85007                         Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600107       SPOKANE COUNTY TREASURER                  Additional distribution to claim                       5800-000                                      $140.85          $25,042.67
                                  PO BOX 199                                74 representing a payment of
                                  SPOKANE, WA 99210                         45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600108       City of Los Angeles Office of Finance     Additional distribution to claim                       5800-000                                      $130.86          $24,911.81
                                  Attn Wendy Loo                            248 representing a payment of
                                  Los Angeles City Attorneys Office         45.69 % pursuant to Court
                                  200 N Main St Ste 920                     Order dated 09/17/2015 [D.I.
                                  Los Angeles, CA 90012                     22]

   03/22/16          600109       Franchise Tax Board                       Additional distribution to claim                       5800-000                                       $39.65          $24,872.16
                                  Bankruptcy Section MS A340                353 representing a payment of
                                  PO Box 2952                               45.69 % pursuant to Court
                                  Sacramento, CA 95812-2952                 Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600110       Los Angeles County Treasurer and          Additional distribution to claim                       5800-000                                      $311.40          $24,560.76
                                  Tax Collector                             393 representing a payment of
                                  P. O. Box 54110                           45.69 % pursuant to Court
                                  Los Angeles, CA 90051-0110                Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600111       ALAMEDA COUNTY TAX COLLECTOR              Additional distribution to claim                       5800-000                                       $72.09          $24,488.67
                                  1221 OAK ST                               399 representing a payment of
                                  OAKLAND, CA 94612                         45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600112       Yakima County Treasurer                   Final distribution to claim 417                        5800-000                                   $1,253.54           $23,235.13
                                  PO Box 22530                              representing a payment of
                                  Yakima, WA 98901                          45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]




                                                                                    Page Subtotals:                                                           $0.00           $2,404.20
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   03/22/16          600113       Arapahoe County Treasurer                 Additional distribution to claim                       5800-000                                      $188.45          $23,046.68
                                  5334 S. Prince Street                     440 representing a payment of
                                  Littleton, CO 80166                       45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600114       County of San Bernadino                   Additional distribution to claim                       5800-000                                       $80.45          $22,966.23
                                  Office of the Tax Collector               448 representing a payment of
                                  172 W 3rd St                              45.69 % pursuant to Court
                                  San Bernadino, CA 92415                   Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600115       Riverside County Tax Collector            Additional distribution to claim                       5800-000                                       $98.09          $22,868.14
                                  Attn Ismael O Vargas                      469 representing a payment of
                                  4080 Lemon St. 4th Floor                  45.69 % pursuant to Court
                                  Riverside, CA 92501                       Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600116       NM Taxation & Revenue                     Additional distribution to claim                       5800-000                                       $30.24          $22,837.90
                                  PO Box 8575                               470 representing a payment of
                                  Alburquerque, NM 87198-8575               45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600117       Idaho State Tax Commission                Additional distribution to claim 7                     5800-000                                       $20.58          $22,817.32
                                  Bankruptcy Unit                           representing a payment of
                                  PO Box 36                                 45.69 % pursuant to Court
                                  Boise, ID 83722                           Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600118       MARICOPA COUNTY TREASURER                 Additional distribution to claim 9                     5800-000                                      $931.03          $21,886.29
                                  MADELEINE C WANSLEE                       representing a payment of
                                  GUST ROSENFELD PLC                        45.69 % pursuant to Court
                                  201 E WASHINGTON STE 800                  Order dated 09/17/2015 [D.I.
                                  PHOENIX, AZ 85004                         22]
   03/22/16          600119       NEVADA DEPARTMENT OF TAXATION             Additional distribution to claim                       5800-000                                       $73.50          $21,812.79
                                  ATTN BANKRUPTCY SECTION                   19 representing a payment of
                                  555 E WASHINGTON AVE NO 1300              45.69 % pursuant to Court
                                  LAS VEGAS, NV 89101                       Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600120       Arizona Department of Revenue             Additional distribution to claim                       5800-000                                      $683.49          $21,129.30
                                  Tax, Bankruptcy & Collection Section      20 representing a payment of
                                  1275 West Washington Ave.                 45.69 % pursuant to Court
                                  Phoenix, AZ 85007                         Order dated 09/17/2015 [D.I.
                                                                            22]

                                                                                    Page Subtotals:                                                           $0.00           $2,105.83
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                                                                                                      06/15/17                   Page 126 of 131
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                   5                  6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   03/22/16          600121       SPOKANE COUNTY TREASURER                  Additional distribution to claim                       5800-000                                      $211.21          $20,918.09
                                  PO BOX 199                                74 representing a payment of
                                  SPOKANE, WA 99210                         45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600122       City of Los Angeles Office of Finance     Additional distribution to claim                       5800-000                                      $196.23          $20,721.86
                                  Attn Wendy Loo                            248 representing a payment of
                                  Los Angeles City Attorneys Office         45.69 % pursuant to Court
                                  200 N Main St Ste 920                     Order dated 09/17/2015 [D.I.
                                  Los Angeles, CA 90012                     22]

   03/22/16          600123       Franchise Tax Board                       Additional distribution to claim                       5800-000                                       $59.46          $20,662.40
                                  Bankruptcy Section MS A340                353 representing a payment of
                                  PO Box 2952                               45.69 % pursuant to Court
                                  Sacramento, CA 95812-2952                 Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600124       Los Angeles County Treasurer and          Additional distribution to claim                       5800-000                                      $466.95          $20,195.45
                                  Tax Collector                             393 representing a payment of
                                  P. O. Box 54110                           45.69 % pursuant to Court
                                  Los Angeles, CA 90051-0110                Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600125       ALAMEDA COUNTY TAX COLLECTOR              Additional distribution to claim                       5800-000                                      $108.11          $20,087.34
                                  1221 OAK ST                               399 representing a payment of
                                  OAKLAND, CA 94612                         45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600126       Arapahoe County Treasurer                 Additional distribution to claim                       5800-000                                      $282.58          $19,804.76
                                  5334 S. Prince Street                     440 representing a payment of
                                  Littleton, CO 80166                       45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600127       County of San Bernadino                   Additional distribution to claim                       5800-000                                      $120.64          $19,684.12
                                  Office of the Tax Collector               448 representing a payment of
                                  172 W 3rd St                              45.69 % pursuant to Court
                                  San Bernadino, CA 92415                   Order dated 09/17/2015 [D.I.
                                                                            22]




                                                                                    Page Subtotals:                                                           $0.00           $1,445.18
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                             Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                   5                  6                       7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   03/22/16          600128       Riverside County Tax Collector            Additional distribution to claim                       5800-000                                       $147.08           $19,537.04
                                  Attn Ismael O Vargas                      469 representing a payment of
                                  4080 Lemon St. 4th Floor                  45.69 % pursuant to Court
                                  Riverside, CA 92501                       Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16          600129       NM Taxation & Revenue                     Additional distribution to claim                       5800-000                                        $45.35           $19,491.69
                                  PO Box 8575                               470 representing a payment of
                                  Alburquerque, NM 87198-8575               45.69 % pursuant to Court
                                                                            Order dated 09/17/2015 [D.I.
                                                                            22]
   03/22/16                       Internal Revenue Service                  Final distribution representing                                                                        $59.44           $19,432.25
                                  PO Box 804522                             an additional payment of 6.64
                                  CINCINNATI, OH 45280-4522                 % pursuant to Court Order
                                                                            dated 09/17/2015 [D.I. 22]
                                  Internal Revenue Service                  FUTA (Max)                                  ($5.04)    5800-000

                                  Internal Revenue Service                                                             ($54.40)    5800-000

   03/22/16                       Internal Revenue Service                  Final distribution representing                                                                        $79.40           $19,352.85
                                  PO Box 804522                             an additional payment of 6.64
                                  CINCINNATI, OH 45280-4522                 % pursuant to Court Order
                                                                            dated 09/17/2015 [D.I. 22]
                                  Internal Revenue Service                  Medicare                                   ($15.04)    5800-000

                                  Internal Revenue Service                  FICA                                       ($64.36)    5800-000

   03/25/16          600101       JULIO A. ARELLANO                         Final distribution representing a                      5300-000                                      ($299.42)          $19,652.27
                                  1200 Monte Diablo Ave. Apt. 108           payment of 100.00 % pursuant
                                  San Mateo, CA 94401-1371                  to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
   04/29/16          600130       Julio A. Arellano                         Final distribution representing a                      5300-000                                       $299.42           $19,352.85
                                  1200 Monte Diablo Ave. Apt. 108           payment of 100.00 % pursuant
                                  San Mateo, CA 94401-1371                  to Court Order dated
                                                                            09/17/2015 [D.I. 22]
   04/29/16          600131       Joaquin A. Lopez                          Final distribution representing a                      5300-000                                       $299.42           $19,053.43
                                  1103 Foster City Blvd., Apt. #3           payment of 100.00 % pursuant
                                  Foster City, CA 94404                     to Court Order dated
                                                                            09/17/2015 [D.I. 22]



                                                                                   Page Subtotals:                                                            $0.00               $630.69
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                              Trustee Name: George L. Miller                                            Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1214
                                                                                                                                            DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                  6                       7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
   04/29/16          600132       OUTTEN & GOLDEN LLP                       Distribution                                            5300-000                                       $405.17           $18,648.26
                                  ATTN: RENE S. ROUPINIAN, ESQ.             Amounts due re: Joaquin A.
                                  3 PARK AVENUE, 29TH FLOOR                 Lopez disbursement
                                  NEW YORK, NEW YORK 10016
   07/28/16          600133       Joel Urias                                Final distribution to claim 460                         5300-000                                   $7,374.82             $11,273.44
                                  C/O Brian Dilks                           representing a payment of
                                  Dilks & Knopik, LLC                       100.00 % pursuant to Court
                                  35308 SE Center Street                    Order dated 09/17/2015 [D.I.
                                  Snoqualmie, WA 98065                      22]
                                                                            Replacement Check
   08/01/16          600130       Julio A. Arellano                         Final distribution representing a                       5300-000                                      ($299.42)          $11,572.86
                                  1200 Monte Diablo Ave. Apt. 108           payment of 100.00 % pursuant
                                  San Mateo, CA 94401-1371                  to Court Order dated
                                                                            09/17/2015 [D.I. 22] Reversal
                                                                            VOID - Creditor not located.
                                                                            Check returned.
   04/17/17          600134       OUTTEN & GOLDEN LLP                       Final distribution pursuant to                          5300-000                                   $6,482.72               $5,090.14
                                  ATTN: RENE S. ROUPINIAN, ESQ.             Court Order dated 04/12/2017
                                  3 PARK AVENUE, 29TH FLOOR                 [D.I. 37]
                                  NEW YORK, NEW YORK 10016
   04/17/17          600135       Clerk of Court                            REMIT TO COURT                                                                                     $5,090.14                   $0.00
                                  United States Bankruptcy Court            Pursuant to Court Order dated
                                  824 N. Market Street, 3rd Floor           04/12/2017 [D.I. 37]
                                  Wilmington, DE 19801
                                  ARELLANO, JULIO A                                                                    ($299.42)    5300-001

                                  CHALFONT, SONIA L                                                                    ($299.42)    5300-001

                                  CUEVAS, FRANCISCO                                                                    ($299.42)    5300-001

                                  ESPINOZA, FABIAN                                                                     ($299.42)    5300-001

                                  FLORES, SERGIO                                                                       ($299.42)    5300-001

                                  GARCIA, JOSE ANTONIO                                                                 ($299.42)    5300-001

                                  GARCIA, JOSE L                                                                       ($299.42)    5300-001

                                  HERNANDEZ, DANIEL                                                                    ($299.42)    5300-001



                                                                                    Page Subtotals:                                                            $0.00          $19,053.43
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                            Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                          Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX1214
                                                                                                                                         DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                           Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                          Separate Bond (if applicable):


       1                2                             3                                            4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                   Description of Transaction                 Uniform Tran.   Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                         ($)
                                  HORTADO, CESAR                                                                     ($299.42)    5300-001

                                  LARSON, BRIAN                                                                      ($299.42)    5300-001

                                  LYONS, DAVID                                                                       ($299.42)    5300-001

                                  MENDOZA, ISMAEL                                                                    ($299.42)    5300-001

                                  ALVINO, SILVESTRE MORALES                                                          ($299.42)    5300-001

                                  NOGALES, JONATHAN                                                                  ($299.42)    5300-001

                                  ROJAS, WALTER                                                                      ($299.42)    5300-001

                                  VARGAS, MONSERRAT                                                                  ($299.42)    5300-001

                                  VIDAL, LUIS                                                                        ($299.42)    5300-001



                                                                                                          COLUMN TOTALS                             $409,294.79            $409,294.79
                                                                                                                Less: Bank Transfers/CD's             $46,027.03                  $0.00
                                                                                                          Subtotal                                  $363,267.76            $409,294.79
                                                                                                                Less: Payments to Debtors                    $0.00                $0.00
                                                                                                          Net                                       $363,267.76            $409,294.79




                                                                                 Page Subtotals:                                                             $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 09-10171                                                                                              Trustee Name: George L. Miller                                          Exhibit 9
      Case Name: GRA ENTERPRISES LIQUIDATION INC                                                                            Bank Name: EagleBank
                                                                                                                   Account Number/CD#: XXXXXX0124
                                                                                                                                          DEPOSIT ACCOUNT
  Taxpayer ID No: XX-XXX2296                                                                             Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 05/15/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   12/15/11                       Transfer from Acct# XXXXXX9763            Transfer of Funds                                      9999-000                $9,913.36                                 $9,913.36

   01/18/12          500001       INTERNATIONAL SURETIES, LTD               BLANKET BOND FROM                                      2300-000                                         $9.99            $9,903.37
                                  701 POYDRAS ST., SUITE 420                01/01/2012 THRU 01/01/2013
                                  NEW ORLEANS, LA 70139                     BOND #016026389
   03/06/12            24         STATE OF ARIZONA                          PREF. SETT. ADV. NO. 11-                               1241-000             $18,874.89                                 $28,778.26
                                                                            51899
                                                                            FULL AMOUNT OF DEMAND
   04/26/12            19         ABC ESCROW TRUST ACCOUNT                  PROCEEDS FROM SALE OF                                  1129-000             $12,000.00                                 $40,778.26
                                                                            LIQUOR LICENSE
                                                                            PURSUANT TO COURT
                                                                            ORDER DATED 6/12/2009 [D.I.
                                                                            391].
   01/08/13            17         WASHINGTON RESTAURANT                     2009 FINAL DISTRIBUTION                                1121-000                $5,388.89                               $46,167.15
                                  ASSOCIATION

   01/29/13          500002       INTERNATIONAL SURETIES, LTD               BLANKET BOND FROM                                      2300-000                                        $39.12          $46,128.03
                                  701 POYDRAS ST., SUITE 420                01/01/2013 THRU 01/01/2014
                                  NEW ORLEANS, LA 70139                     BOND #016026389
   02/12/13                       Eagle Bank                                BANK SERVICE CHARGE                                    2600-000                                        $48.00          $46,080.03

   03/07/13                       Eagle Bank                                bank fee - February 2013                               2600-000                                        $44.00          $46,036.03

   03/07/13                       Eagle Bank                                bank fee - March 2013 pro rata                         2600-000                                         $9.00          $46,027.03

   03/07/13                       Transfer to Acct# XXXXXX1214              Transfer of Funds                                      9999-000                                   $46,027.03                 $0.00



                                                                                                             COLUMN TOTALS                              $46,177.14            $46,177.14
                                                                                                                   Less: Bank Transfers/CD's               $9,913.36          $46,027.03
                                                                                                             Subtotal                                   $36,263.78                $150.11
                                                                                                                   Less: Payments to Debtors                   $0.00                $0.00
                                                                                                             Net                                        $36,263.78                $150.11



                                                                                   Page Subtotals:                                                      $46,177.14            $46,177.14
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                                                                                                                                                                           Exhibit 9
                                                                                                  TOTAL OF ALL ACCOUNTS
                                                                                                                                                      NET             ACCOUNT
                                                                                                                   NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                XXXXXX0124 - DEPOSIT ACCOUNT                                            $36,263.78                $150.11                  $0.00
                                                XXXXXX1214 - DEPOSIT ACCOUNT                                           $363,267.76            $409,294.79                  $0.00
                                                XXXXXX9763 - DEPOSIT ACCOUNT                                            $10,000.81                  $87.45                 $0.00
                                                                                                                       $409,532.35            $409,532.35                  $0.00

                                                                                                                  (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                          transfers)            to debtors)
                                                Total Allocation Receipts:                       $297,837.22
                                                Total Net Deposits:                              $409,532.35
                                                Total Gross Receipts:                            $707,369.57




                                                                        Page Subtotals:                                                  $0.00                $0.00
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